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       EXHIBIT A
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                                                                                                       Service of Process
                                                                                                       Transmittal
                                                                                                       02/19/2021
                                                                                                       CT Log Number 539079094
   TO:         Serviceof Process
               CVS Health Companies
               1 CVS DR MAIL CODE 1160
               WOONSOCKET, RI 02895-6146

   RE:         Process Served in California

   FOR:        Garfield Beach CVS, L.L.C. (Domestic State: CA)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                                  ANTHONY DAVIS, Pltf. vs. CVS PHARMACY, INC., etc., et al., Dfts. // To: GARFIELD
                                                     BEACH CVS, L.L.C., etc.
   DOCUMENT(S) SERVED:                               -
   COURT/AGENCY:                                     None Specified
                                                     Case # 21STCV04310
   NATURE OF ACTION:                                 Employee Litigation - Discrimination
   ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Los Angeles, CA
   DATE AND HOUR OF SERVICE:                         By Process Server on 02/19/2021 at 01:49
   JURISDICTION SERVED :                             California
   APPEARANCE OR ANSWER DUE:                         None Specified
   ATTORNEY(S) / SENDER(S):                          None Specified
   ACTION ITEMS:                                     CT has retained the current log, Retain Date: 02/19/2021, Expected Purge Date:
                                                     02/24/2021

                                                     Image SOP

                                                     Email Notification, Serviceof Process service_of_process@cvs.com

   REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                     818 West 7th Street
                                                     Los Angeles, CA 90017
                                                     800-448-5350
                                                     MajorAccountTeam1@wolterskluwer.com
   The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
   relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
   of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
   advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
   therein.




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                                                                                                                                EXHIBIT A, PAGE 13
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                                                            Wolters Kluwer

                       PROCESS SERVER DELIVERY DETAILS




   Date:                 Fri, Feb 19, 2021

   Server Name:          Jimmy Lizama




   Entity Served          GARFIELD BEACH CVS, L.L.C.

   Agent Name            CT CORPORATION SYSTEM (C0168406)

   Case Number           21STCV04310

   Jurisdiction           CA




                                   1 11
                                                             EXHIBIT A, PAGE 14
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Electronically FILED by Superior Court of California, County of Los Angeles on 02/03/20i11 iiig\folUpyrri R. Carter, Executive Officer/Clerk of Court, by N. Alvarez,Deputy Clerk

                                                                                                                                                                            SUM-100
                                                       SUMMONS                                                                            (
                                                                                                                                              FOR COURT USE ONLY
                                                                                                                                           SOLO PAPA USO DE LA CORTE)
                                              (CITACION JUDICIAL)
        NOTICE TO DEFENDANT: CVS Pharmacy, INC., a Rhode Island
        (AVISO AL DEMANDADO): corporation; CVS HEALTH SOLUTIONS, LLC
           a Delaware limited liability company; and GARFIELD BEACH CVS,L.L.C.,
         a limited liability company; and DOES 1 through 50, inclusive,

         YOU ARE BEING SUED BY PLAINTIFF: ANTHONY DAVIS,an individual,
         (LO ESTA DEMANDANDO EL DEMANDANTE):




            NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
            below.
              You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
           served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
           case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
            Online Self-Help Center (www.courtinfo.ca.gov/selthelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
           the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
            may be taken without further warning from the court.
               There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
           referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
           these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
          (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
           costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
           IAVISO!Lo hen demanded°. Si no responde dentro de 30 dlas, la corte puede decidir en su contra sin escuchar su version. Lea la infonnaciOn a
           continuacion.
              Tiene 30 0/AS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles legates para presen tar una respuesta por escrito en esta
           code y hacer que se entregue una copia al demandante. Una carte o una Hamada telefonica no lo protegen. Su respuesta por escrito tiene que ester
           en format° legal correct° Si desea que procesen su caso en la corte. Es posible que haya un formulario qua usted pueda user para su respuesta.
           Puede encontrar estos fommlarios de la carte y Ines informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
           biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la carte
           que le da un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder of caso por incumplimiento y la corte le
           podra guitar su sue/do, dinero y bienes sin mas advertencia.
             Hay otros requisitos legates. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
           remisi6n a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
           programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sill° web de California Legal Services,
          (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contact° con la carte o el
           colegio de abogados locales. AVISO:Parley, la corte tiene derecho a reclamar las cuotas y las costos exentos por imponer un gravamen sabre
           cualquier recuperacion de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
           pager el gravamen de la cone antes de que la carte pueda desechar el caso.

         The name and address of the court is:                                                        CASE NUMBER:
                                                                                                     (Ndmero del Ceso):
        (El nombre y direccian de la corte es):
         Superior Court of California, County of Los Angeles                                           21STCV0431 0
         1 11 North Hill Street
         Los Angeles, California 90012
         The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: Matthew J. Matern
        (El nombre, la direccion y el nOmero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
         Matern Law Group,PC                                            Sherri R. Carter Executive Officer I Clerk of Court
         1230 Rosecrans Avenue, Suite 200, Manhattan Beach, CA 90266                                                      (310) 531-1900
         DATE:                                                               Clerk, by                   N. Alvarez                    , Deputy
                    02/03/2021
        (Fecha)                                                              (Secretario)                                              (Adjunto)
        (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
        (Para prueba de entrega de este citati6n use el formulario Proof of Service of Summons,(POS-010)).
                                          NOTICE TO THE PERSON SERVED: You are served
                                          1. -
                                             1 1 as an individual defendant.
                                          2. El as the person sued under the fictitious name of (specify):


                                                   3. X        on behalf of (specify): GARFIELD BEACH CVS, L.L.C, a California limited liability company

                                                        under: LIJ CCP 416.10 (corporation)                                             CCP 416.60(minor)
                                                               FT CCP 416.20 (defunct corporation)                                      CCP 416.70(conservatee)
                                                                   CCP 416.40 (association or partnership) fl                           CCP 416.90 (authorized person)
                                                          X other (specify): Corporation Co1e 170 1
                                                      9 y personal delivery on (date):
                                                   4. '
                                                                                                                                                                               Page I of
           Form Adopted for Mandatory Use                                               SUMMONS                                                      Code of Civil Procedure §§ 412.20, 465
             Judicial Council of California                                                                                                                            www.courtinfo.ca.gov
            SUM-100 [Rev. July 1, 2009]                                                                                                                         Westlow Dec & Fonn Bulkier-




                                                                                                                                                  EXHIBIT A, PAGE 15
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Electronically FILED by Supe   r Court of California, County of Los Angeles on 02/03/2021 12:47 PM Sherri R. Carter, Executive Officer/Clerk of Court, by N. Alvarez,Deputy Clerk
                                                                                      21STCV04310
                                        Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Susan Bryant-Deason




                         1MATERN LAW GROUP,PC
                          MATTHEW J. MATERN(SBN 159798)
                        2 MATTHEW W. GORDON(SBN 267971)
                          VANESSA M.RODRIGUEZ(SBN 316382)
                        3 1230 Rosecrans Avenue, Suite 200
                          Manhattan Beach, California 90266
                        4 Telephone:(310)531-1900
                          Facsimile: (310)531-1901
                        5
                          Attorneys for Plaintiff
                        6 ANTHONY DAVIS

                        7

                        8                                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

                        9                                                 FOR THE COUNTY OF LOS ANGELES

                       10

                       11      ANTHONY DAVIS, an individual,                                                 CASE NO.:                 21ST CV 0431 0
                       12                             Plaintiff,
                                                                                                             COMPLAINT FOR:
                       13                 VS.
                                                                                                            1. Disability Discrimination
                       14 CVS PHARMACY,INC., a Rhode Island                                                   (Cal Gov't Code § 12940(a))
                          corporation; CVS HEALTH SOLUTIONS                                                 2. Failure to Make a Reasonable
                       15 LLC,a Delaware limited liability company;                                            Accommodation
                          GARFIELD BEACH CVS, L.L.C, a                                                        (Cal. Gov't Code § 12940(m))
                       16 California limited liability company; and                                         3. Failure to Engage in the Interactive Process
                          DOES 1 through 50, inclusive,                                                       (Cal. Gov't Code § 12940(n))
                       17                                                                                   4. Failure to Take All Reasonable Steps
                                         Defendants.                                                           Necessary to Prevent Disability
                       18                                                                                      Discrimination
                                                                                                              (Cal. Gov't Code §12940(k))
                       19                                                                                   5. Retaliation
                                                                                                              (Cal. Gov't Code § 12940(h))
                       20                                                                                   6. Violation of Cal. Family Rights Act
                                                                                                              (Cal. Gov't Code § 12945.2)
                       21                                                                                   7. Intentional Infliction of Emotional Distress
                                                                                                            8. Wrongful Termination in Violation of
                      22                                                                                       Public Policy

                       23                                                                                    DEMAND FOR JURY TRIAL

                       24

                       25

                       26

                       27

                       28


                                                                                                COMPLAINT


                                                                                                                                                  EXHIBIT A, PAGE 16
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        1                                     NATURE OF THE ACTION

        2          1.      Plaintiff ANTHONY DAVIS ("PLAINTIFF"), an individual, demanding jury trial,

        3 brings this civil rights action against Defendants CVS PHARMACY,INC.("CVS PHARMACY"),

        4 a Rhode Island corporation; CVS HEALTH SOLUTIONS LLC("CVS HEALTH SOLUTIONS"),

        5 a Delaware limited liability company; GARFIELD BEACH CVS, L.L.C.("GARFIELD BEACH

        6 CVS"), a California limited liability company; and DOES 1 through 50 inclusive (collectively,

        7 "DEFENDANTS"), to remedy DEFENDANTS' employment practices and policies of disability

        8 discrimination, retaliation, failure to take all reasonable steps necessary to prevent disability

        9 discrimination, failure to make a reasonable accommodation, failure to engage in the interactive

       10 process, wrongful termination in violation of public policy, and other unlawful and tortious conduct.

       1 1 PLAINTIFF seeks compensatory damages, punitive damages, and attorneys' fees.

       12                                             PLAINTIFF

       13          2.     PLAINTIFF is a male resident and citizen of the State of California. At all relevant

       14 times herein, PLAINTIFF was employed by DEFENDANTS.                       PLAINTIFF worked for

       15 DEFENDANTS as a Trainee/Assistant Manager Trainee and Store Manager from approximately

       16 April 1, 1985 through approximately March 13, 2020.

       17                                     JURISDICTION AND VENUE

       18          3.     This Court has jurisdiction in this matter because PLAINTIFF is a resident and a

       19 citizen of the State of California and DEFENDANTS are citizens of, and/or regularly conduct

       20 business in, the State of California. Further, no federal question is at issue because the claims are

       21   based solely on California law.

       22          4.      Venue is proper in the County of Los Angeles, California because PLAINTIFF

       23 performed work for DEFENDANTS in the County of Los Angeles, and most of DEFENDANTS'

       24 unlawful actions and omissions, set forth herein, occurred in the County of Los Angeles.

       25                                           DEFENDANTS

       26          5.     PLAINTIFF is informed and believes, and thereon alleges, that CVS PHARMACY

       27 is, and at all times relevant hereto was, a corporation organized and existing under the laws of the

       28 State of Rhode Island. PLAINTIFF is further informed and believes, and thereon alleges, that CVS

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                                                       COMPLAINT


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        1 PHARMACY is authorized to conduct business in the State of California, and does conduct business

        2 in the State of California. Specifically, upon information and belief, CVS PHARMACY maintains

        3 offices and facilities and conducts business in the County of Los Angeles.

        4          6.      PLAINTIFF is informed and believes, and thereon alleges, that CVS HEALTH

        5 SOLUTIONS is, and at all times relevant hereto was, a limited liability company organized and

        6 existing under the laws of the State of Delaware. PLAINTIFF is further informed and believes, and

        7 thereon alleges, that CVS HEALTH SOLUTIONS is authorized to conduct business in the State of

        8 California, and does conduct business in the State of California. Specifically, upon information and

        9 belief, CVS HEALTH SOLUTIONS maintains offices and facilities and conducts business in the

       10 County of Los Angeles.

       11           7.     PLAINTIFF is informed and believes, and thereon alleges, that GARFIELD BEACH

       12 CVS is, and at all times relevant hereto was, a limited liability company organized and existing

       13 under the laws of the State of California. PLAINTIFF is further informed and believes, and thereon

       14 alleges, that GARFIELD BEACH CVS is authorized to conduct business in the State of California,

       15 and does conduct business in the State of California. Specifically, upon information and belief,

       16 GARFIELD BEACH CVS maintains offices and facilities and conducts business in the County of

       17 Los Angeles.

       18          8.      The true names and capacities of DOES 1 through 50, inclusive, are unknown to

       19 PLAINTIFF at this time, and PLAINTIFF therefore sues such DEFENDANTS under fictitious

       20 names. PLAINTIFF is informed and believes, and thereon alleges, that each Defendant designated

       21   as a DOE is responsible in some manner for the events and happenings referred to herein, and legally

       22 caused the injuries and damages alleged in this Complaint. PLAINTIFF will seek leave of the court

       23 to amend this Complaint to allege their true names and capacities when ascertained.

       24          9.      At all relevant times herein, DEFENDANTS were the joint employers of

       25 PLAINTIFF. PLAINTIFF is informed and believes, and thereon alleges, that at all times material

       26 to this complaint, DEFENDANTS were the alter egos, divisions, affiliates, integrated enterprises,

       27 joint employers, subsidiaries, parents, principals, related entities, co-conspirators, authorized agents,

       28 partners,joint venturers, and/or guarantors, actual or ostensible, of each other and DOES 1 through

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                                                         COMPLAINT


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        1 50. Each defendant was completely dominated by his, her, or its co-defendant, and each was the

        2 alter ego of the other.

        3          10.    PLAINTIFF is informed and believes, and thereon alleges, that all times mentioned

        4 herein, each of the DEFENDANTS was the agent, servant and employee, client, co-venturer and/or

        5 co-conspirator of each of the remaining DEFENDANTS, and was at all times herein mentioned,

        6 acting within the course, scope, purpose, consent, knowledge, ratification, and authorization of such

        7 agency, employment, services,joint venture, and conspiracy.

        8          1 1.   Whenever reference is made in this complaint to any act or failure by a Defendant or

        9 DEFENDANTS,such allegations and reference shall also be deemed to mean the acts and failures

       10 of each Defendant acting individually, jointly, and severally. Whenever reference is made to

       11   individuals who are not named as PLAINTIFF or DEFENDANTS in this complaint, but who were

       12 employees/agents of DEFENDANTS, such individuals acted on behalf of DEFENDANTS within

       13 the course and scope of their employment.

       14          12.    PLAINTIFF is informed and believes, and thereon alleges, that at all relevant times

       15 herein, DEFENDANTS,and/or their agents and employees, knew or reasonably should have known

       16 that, unless they intervened to protect PLAINTIFF, and to adequately supervise, prohibit, control,

       17 regulate, discipline, and/or otherwise penalize the conduct of the employees of DEFENDANTS,as

       18 set forth herein, the remaining DEFENDANTS and employees perceived the acts and omissions as

       19 being ratified and condoned.

       20                                     STATEMENT OF FACTS

       21          13.    On or about April 1, 1985, PLAINTIFF commenced employment with

       22 DEFENDANTS. During his employment with DEFENDANTS, PLAINTIFF worked at

       23 DEFENDANTS' stores located in Long Beach, California; Hawthorne, California; Culver City,

       24 California; Los Angeles, California; and Artesia, California. PLAINTIFF performed his job

       25 competently at all times material to this complaint.

       26          14.    In or about September 2016, when PLAINTIFF worked at DEFENDANTS' Artesia

       27 store, PLAINTIFF began experiencing severe pain in his fingers, arms, and neck. PLAINTIFF

       28 informed his District Manager, Paul Stewart, that he was experiencing pain in his right arm and

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                                                       COMPLAINT


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        1   would be visiting his primary care physician.

        2          15.    On or about October 1, 2016, PLAINTIFF visited his primary care physician, Dr.

        3 Shobha Govind. Dr. Govind prescribed PLAINTIFF ibuprofen; however, the medication did not

        4 alleviate PLAINTIFF's pain.

        5          16.    Approximately one week after PLAINTIFF visited his primary care physician, Dr.

        6 Govind referred PLAINTIFF to a specialist. PLAINTIFF visited the specialist approximately two

        7 times and was prescribed more painkillers. However, because the pain medication was ineffective,

        8 the specialist referred PLAINTIFF to a pain specialist.

        9          17.    In or about October 2016, PLAINTIFF consulted the pain specialist and received x-

       10 rays, which revealed that the pain PLAINTIFF was experiencing stemmed from his neck.

       1 1 PLAINTIFF's pain specialist gave PLAINTIFF a couple of injections in his back, but due to the

       12 severity of the damage in PLAINTIFF's neck, the injections did not alleviate PLAINTIFF's pain

       13 and, as a result, PLAINTIFF's pain specialist referred him to a neck surgeon.

       14          18.    In or about December 2016, PLAINTIFF consulted the neck surgeon, Dr. Payam

       15 Farjoodi, who informed PLAINTIFF that five out of seven discs in PLAINTIFF's neck were

       16 damaged and that the injury was caused by the repetitive motion and physical labor of lifting heavy

       17 boxes and freight while at work. Dr. Farjoodi informed PLAINTIFF that PLAINTIFF needed to

       18 undergo spinal neck surgery. PLAINTIFF scheduled his surgery for on or about January 25, 2017.

       19 In the meantime, Dr. Farjoodi prescribed PLAINTIFF Norco to help PLAINTIFF endure the pain.

       20          19.    In between attending doctors' visits and consultations, PLAINTIFF continued to

       21   work for DEFENDANTS without accommodations.

       22          20.    In or about December 2016, PLAINTIFF informed Paul Stewart that his injury was

       23 caused by the repetitive motion and physical labor of lifting heavy boxes and freight while at work

       24 and requested that a workers' compensation claim be processed with Sedgwick Claims Management

       25 Services, Inc.("Sedgwick").

       26          21.    PLAINTIFF tried to follow up with Paul Stewart via telephone before December 25,

       27 2016 to confirm whether or not a workers' compensation claim had been processed with Sedgwick,

       28 but PLAINTIFF was unable to reach him.

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                                                       COMPLAINT


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         1         22.    In or about early January 2017, Paul Stewart informed PLAINTIFF that he would

        2 call Sedgwick to check the status of PLAINTIFF's workers' compensation claim. Approximately

         3 one or two days later, PLAINTIFF called Paul Stewart and requested the authorization code for his

        4 claim. PLAINTIFF called Sedgwick several times in January 2017 to confirm whether they had

         5 received his case. Sedgwick informed PLAINTIFF that they could not locate his claim.

        6          23.    In or about early January 2017, PLAINTIFF notified Paul Stewart that he needed to

         7 take a leave of absence and submitted a leave of absence request to DEFENDANTS' Human

        8 Resources ("HR") department via telephone. DEFENDANTS' HR department approved

        9 PLAINTIFF's leave of absence to begin on or about January 27, 2017 and to end on or about April

        10 15, 2017.

        11         24.    On or about January 27, 2017, PLAINTIFF underwent spinal neck surgery through

        12 his health insurance with DEFENDANTS because his workers' compensation claim had not yet

        13 been processed.

        14         25.    On or about January 27, 2017,PLAINTIFF began his leave of absence.

        15         26.    During approximately the first week of February 2017, PLAINTIFF received a call

       16 from Sedgwick, informing him that his worker's compensation claim had been processed.

       17 PLAINTIFF therefore began seeing the doctors at U.S. HealthWorks, which was covered by

       18 Sedgwick. Prior to this time, because PLAINTIFF's worker's compensation claim had not yet been

        19 processed,PLAINTIFF had been using his health insurance to cover his doctors' visits and surgery.

       20          27.    In or about March 2017, PLAINTIFF had a telephone conversation with Paul

       21    Stewart. During the call, Paul asked PLAINTIFF how PLAINTIFF was doing and how

       22 PLAINT1FF's recovery was progressing. Paul also asked PLAINTIFF if he thought he would be

       23 able to return to work in April 2017. PLAINTIFF informed Paul that he did not know whether he

       24 would be able to return to work in April.

       25          28.    From approximately February 2017 to approximately April 2017, PLAINTIFF

       26 continued to visit both U.S. HealthWorks Medical Group and Dr. Farjoodi.

       27          29.    In or about April 2017, PLAINTIFF continued to experience complications with his

       28 fingers and arms. PLAINTIFF could not lift his arms and still had pain in his neck. Dr. Farjoodi

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                                                      COMPLAINT


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         1 informed PLAINTIFF that it would take a while for his pain to subside and recommended that

         2 PLAINTIFF continue his leave of absence for an additional three months. PLAINTIFF informed

        3 DEFENDANTS' District Manager Michael (Last Name Unknown) that he would not be able to

        4 return to work and submitted a leave of absence request with DEFENDANTS' HR department. To

        5 support his request, PLAINTIFF faxed DEFENDANTS' HR department a doctor's note. Shortly

        6 thereafter, DEFENDANTS' HR department extended PLAINTIFF's leave of absence for an

        7 additional three months.

        8          30.    In or about April 2017, Sedgwick informed PLAINTIFF that PLAINTIFF's claim

        9 had been denied. Sedgwick further informed PLAINTIFF that PLAINTIFF needed to get evaluated

       10 by a third-party doctor covered by Sedgwick to confirm whether PLAINTIFF's claims were valid

        1 1 and eligible for approval. PLAINTIFF therefore made an appointment to visit a third- party doctor

       12 under Sedgwick's coverage. Because PLAINTIFF's claim was denied, PLAINTIFF stopped

       13 visiting U.S. HealthWorks Medical Group, but continued to visit his surgeon, Dr. Farjoodi.

       14          31.    Approximately one month later, PLAINTIFF visited a third-party doctor, Dr. Neil

       15 Halbridge, for an evaluation. Dr. Halbridge sent his evaluation report to Sedgwick approximately

       16 one month later.

       17          32.    In or about May or June 2017, PLAINTIFF retained counsel for his workers'

       18 compensation claim.

       19          33.    In or about July 2017, PLAINTIFF received a notice from Sedgwick that his

       20 workers' compensation claim had been accepted. Sedgwick informed PLAINTIFF that he could no

       21   longer see his surgeon or else PLAINTIFF would forfeit his claims. From this point on, PLAINTIFF

       22 only visited the doctors that were covered under Sedgwick and resumed his visits at the workers'

       23 compensation clinic.

       24          34.    On or about July 2, 2017, PLAINTIFF returned to work. However, because

       25 PLAINTIFF had not fully recovered from his surgery, upon PLAINTIFF's return to work,

       26 PLAINTIFF spoke with Michael about work accommodations. PLAINTIFF informed Michael that

       27 his work restrictions included being unable to lift anything over 10-15 pounds and needing to take

       28 a 15-20 minute break every hour and provided Michael with a doctor's note containing these

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                                                       COMPLAINT


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        1 restrictions. Because DEFENDANTS refused to accommodate PLAINTIFF's work restrictions,

        2 PLAINTIFF continued performing the same type and amount of work as he performed before his

        3 surgery, including lifting items over 10-15 pounds.

        4          35.    From approximately July 2017 to approximately December 2017, PLAINTIFF

        5 continued to visit U.S. HealthWorks Medical Group for his spinal neck injury. The doctors at U.S.

        6 HealthWorks Medical Group continued to prescribe PLAINTIFF muscle relaxers and ibuprofen and

        7 also continued to give PLAINTIFF the same work restrictions. PLAINTIFF was unable to see a

        8 specialist during this time because a specialist was not available through U.S. Health Works Medical

        9 Group. During this time,PLAINTIFF was also in constant communication with Michael regarding

       10 PLAINTIFF's progress and work restrictions.

       11          36.    In or about November 2017, PLAINTIFF received a report from his doctor, stating

       12 that PLAINTIFF was found to be permanent and stationary with respect to his work restrictions,

       13 which included: no pushing, pulling, or lifting items greater than 15 pounds; no climbing; limiting

       14 standing or walking to 8 hours per day; and limiting overhead work to 8 hours per day.

       15          37.    In or about January 2018,PLAINTIFF was finally able to see a specialist, Dr. Saeed

       16 Nick, through Sedgwick. Approximately one month later, x-rays were taken ofPLAINTIFF's neck

       17 and spine and PLAINTIFF was informed by Dr. Nick, as well as a surgeon, that nothing further

       18 could be done to correct the damage to PLAINTIFF's neck. PLAINTIFF was further informed that

       19 he would have to live with the pain he was experiencing for the rest of his life as additional surgery

       20 was not an option.

       21          38.    In or about April or May 2018,PLAINTIFF's pain began to worsen. As a result, Dr.

       22 Nick advised him to inform DEFENDANTS that PLAINTIFF needed the following work

       23 restrictions: no lifting more than 10-15 pounds and taking breaks/sitting down when PLAINTIFF's

       24 pain is severe. Dr. Nick further suggested that PLAINTIFF be placed on permanent/sedentary work.

       25 PLAINTIFF informed Michael of his work restrictions, provided DEFENDANTS with a doctor's

       26 note containing his work restrictions, and requested accommodations. However, DEFENDANTS

       27 refused to provide PLAINTIFF with any accommodations. PLAINTIFF therefore continued to

       28 perform 100% of his work duties, which included, but were not limited to: lifting items over 10-15

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                                                        COMPLAINT


                                                                                        EXHIBIT A, PAGE 23
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         1   pounds, cleaning the store's restrooms, mopping and vacuuming the store, and making deliveries.

        2           39.    In or about August 2018, PLAINTIFF's pain continued to worsen. PLAINTIFF

        3 therefore called DEFENDANTS' corporate accommodation department and spoke with Christine

        4 Arsenault. PLAINTIFF informed Ms. Arsenault of his work restrictions and informed Ms.

        5 Arsenault that Michael had not done anything to accommodate PLAINTIFF. Ms. Arsenault asked

        6 PLAINTIFF to fax in the reports from PLAINTIFF's specialist stating that PLAINTIFF needed

        7 sedentary work so that she could evaluate PLAINTIFF's situation. PLAINTIFF faxed the reports

        8 to Ms. Arsenault and then tried to follow up with her multiple times via phone in August 2018, but

        9 was unable to reach her.

       10           40.    In or about September 2018, PLAINTIFF heard back from Ms. Arsenault. Ms.

       11    Arsenault informed PLAINTIFF that DEFENDANTS' corporate office could not accommodate

       12 him. Ms. Arsenault stated that she spoke to Michael, who confirmed that DEFENDANTS could

        13 not accommodate PLAINTIFF, and informed PLAINTIFF that he would have to go on a three-

       14 month disability leave of absence. Ms. Arsenault further informed PLAINTIFF that September 18,

       15 2018 would be PLAINTIFF's last day of work.

       16          41.     On or about October 1, 2018, PLAINTIFF emailed and called Ms. Arsenault to ask

       17 how DEFENDANTS planned to accommodate him upon his return. PLAINTIFF also requested an

       18 interactive meeting to discuss the accommodations.

       19          42.     During PLAINTIFF's leave of absence, PLAINTIFF called Ms. Arsenault and left

       20 her approximately four messages, but did not hear back from her.

       21          43.     In or about December 2018, Michael called PLAINTIFF to ask if PLAINTIFF

       22 planned to return from his leave of absence. PLAINTIFF informed DEFENDANTS that he would

       23 not be returning at the end of his three-month leave. DEFENDANTS continued to extend

       24 PLAINTIFF's leave of absence until in or about March 2020.

       25          44.     On or about March 13, 2020, PLAINTIFF received a call from DEFENDANTS'

       26 District Leader, Vinh Nguyen. Mr. Nguyen informed PLAINTIFF that DEFENDANTS could not

       27 accommodate PLAINTIFF's work restrictions and that PLAINTIFF's employment would therefore

       28 be terminated. PLAINTIFF asked Mr. Nguyen to confirm their conversation in writing.

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                                                       COMPLAINT


                                                                                     EXHIBIT A, PAGE 24
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         1          45.     On or about March 17, 2020, PLAINTIFF received a letter from DEFENDANTS

         2 stating that a reasonable accommodation that would enable PLAINTIFF to perform the essential

         3 duties of his job could not be found and that PLAINTIFF's termination was effective as of March

        4 13, 2020.

         5          46.     DEFENDANTS knew, or should have known, that DEFENDANTS' conduct

         6 constituted a continuous pattern of discrimination against PLAINTIFF,but failed to take reasonable

         7 steps to prevent or to correct the ongoing unlawful behavior.

         8         47.      PLAINTIFF is informed and believes, and thereon alleges, that he was discriminated

        9 against by DEFENDANTS because of his medical condition and disability, and because he engaged

        10 in protected activity. PLAINTIFF is further informed and believes, and thereon alleges, that

        1 1 DEFENDANTS condoned and ratified their managers' wrongful discriminatory conduct, and that

        12 DEFENDANTS knew, or should have known, about the continuous pattern of discrimination

        13 against PLAINTIFF, but failed to take steps to prevent or to correct the ongoing behavior and failed

        14 to properly investigate, reprimand, terminate, or take any appropriate disciplinary action against

        15 PLAINTIFF's managers. Instead, DEFENDANTS retaliated against PLAINTIFF for complaining

        16 about the discrimination and for engaging in protected activity by terminating PLAINTIFF'S

        17 employment.

       18                                      INJURIES TO PLAINTIFF

       19          48.      As a direct and proximate result of the foregoing unlawful and malicious acts of

       20 DEFENDANTS,PLAINTIFF has suffered great mental and emotional distress. Moreover,

       21 PLAINTIFF has been humiliated and embarrassed as a result of the foregoing acts of

       22 DEFENDANTS.

       23          49.      As a further direct and proximate result of the foregoing unlawful and malicious

       24 acts ofDEFENDANTS,PLAINTIFF has suffered monetary damages in an amount subject to

       25 proof at trial.

       26          50.      As a further direct and proximate result of the unlawful actions of DEFENDANTS,

       27 PLAINTIFF has suffered and continues to suffer from loss of earnings in amounts as yet

       28 unascertained, but subject to proof at trial, and within the jurisdiction of this Court.

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                                                         COMPLAINT


                                                                                         EXHIBIT A, PAGE 25
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        1                                    FIRST CAUSE OF ACTION
        2                          Disability and Medical Condition Discrimination

        3                                    [Cal. Gov. Code § 12940(a)]

        4                                   (Against All DEFENDANTS)

        5          51.    PLAINTIFF incorporates herein by specific reference as though fully set forth the

        6 allegations in Paragraphs 1 through 50.

        7          52.     At all times relevant herein, California Government Code § 12940 was in full force

        8 and effect and was binding on DEFENDANTS.

        9          53.    California Government Code § 12940 provides that "[i]t is an unlawful employment

       10 practice, unless based upon a bona fide occupational qualification, or, except where based upon

       1 1 applicable security regulations established by the United Sates or the State of California: (a)[f]or

       12 an employer because of. . . physical disability, mental disability, or medical condition. . . to

       13 discriminate against the person in compensation or in terms, conditions, or privileges of

       14 employment. . .".

       15          54.    As set forth above, DEFENDANTS' acts and omissions constitute violations of

       16 California Government Code § 12940(a). PLAINTIFF has timely filed a complaint of disability

       17 discrimination against DEFENDANTS with the California Department of Fair Employment and

       18 Housing and received a Right to Sue letter on July 31, 2020.

       19          55.    As set forth above, PLAINTIFF suffered from a disability and medical condition

       20 caused by a spinal neck injury.

       21          56.    PLAINTIFF's disability and medical condition limited his ability in at least one of

       22 the major life activities: working.       As described above, DEFENDANTS were aware of

       23 PLAINTIFF's disability and medical condition.

       24          57.    At all relevant times herein, PLAINTIFF satisfactorily performed his job duties and

       25 responsibilities, and could have continued to satisfactorily perform the essential duties of his job

       26 with an effective accommodation that could have been agreed upon if DEFENDANTS had engaged

       27 in the interactive process, as required by law. Instead of engaging in the interactive process,

       28 DEFENDANTS discriminated against PLAINTIFF because of his disability and medical condition

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                                                       COMPLAINT


                                                                                       EXHIBIT A, PAGE 26
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        1 and retaliated against PLAINTIFF because he sought reasonable accommodations for his disability

        2 and medical condition.

        3          58.    PLAINTIFF believes, and thereon alleges, that his disability and medical condition

        4 were a substantial motivating factor in DEFENDANTS' wrongful employment actions and

        5 practices, including, but not limited to, the termination of his employment. Such discrimination is

        6 in violation of California Government Code § 12940(a) and has resulted in damage and injury to

        7 PLAINTIFF as alleged herein.

        8          59.    As a proximate result of DEFENDANTS' unlawful acts, practices, and omissions,

        9 PLAINTIFF has suffered monetary damages, humiliation, mental anguish, and physical and

       10 emotional distress, in an amount subject to proof at trial. PLAINTIFF claims such amount as

       1 1 damages together with prejudgment interest thereon pursuant to California Civil Code §§ 3287,

       12 3288, and/or any other applicable provision providing for prejudgment interest.

       13          60.    The unlawful acts, practices, and omissions of DEFENDANTS alleged herein were

       14 reckless, malicious, and willful, and caused great physical and emotional harm to PLAINTIFF.

       15 Therefore, PLAINTIFF seeks an award of punitive damages, sufficient to punish DEFENDANTS

       16 and to serve as an example to deter similar conduct in the future, in an amount according to proof at

       17 trial, together with prejudgment interest thereon pursuant to Civil Code §§ 3287, 3288, and/or any

       18 other applicable provision providing for prejudgment interest.

       19         61.     Additionally, pursuant to California Government Code § 12965(b), PLAINTIFF

       20 seeks an award of reasonable attorneys' fees and costs against DEFENDANTS.

       21                                  SECOND CAUSE OF ACTION

       22                          Failure to Make a Reasonable Accommodation

       23                                    [Cal. Gov. Code § 12940(m)1

       24                                   (Against All DEFENDANTS)

       25          62.    PLAINTIFF incorporates herein by specific reference as though fully set forth the

       26 allegations in paragraphs 1 through 61.

       27         63.     At all times relevant herein, California Government Code § 12940 was in full force

       28 and effect and was binding on DEFENDANTS.

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                                                       COMPLAINT


                                                                                      EXHIBIT A, PAGE 27
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        1           64.    California Government Code § 12940(m) provides that "[i]t is an unlawful

        2 employment practice, unless based upon a bona fide occupational qualification, or, except where

        3 based upon applicable security regulations established by the United States or the State of

        4 California: (m)[for an employer or other entity covered by this part to fail to make reasonable

        5 accommodation for the known physical or mental disability of an applicant or employee. . ."

        6           65.    As set forth above, DEFENDANTS' acts and omissions constitute violations of

        7 California Government Code § 12940(m). DEFENDANTS had knowledge of PLAINTIFF's

        8 disability and failed to make a reasonable accommodation. PLAINTIFF has filed a timely complaint

        9 with the California Department of Fair Employment and Housing and has received a Right to Sue

       10 letter.

       11           66.    By reason of DEFENDANTS' unlawful acts, practices and omissions, PLAINTIFF

       12 has suffered monetary damages, humiliation, mental anguish, and physical and emotional distress,

       13 in an amount subject to proof at trial. PLAINTIFF claims such amount as damages together with

       14 pre-judgment interest thereon pursuant to California Civil Code §§ 3287, 3288, and/or any other

       15 applicable provision providing for prejudgment interest.

       16           67.    DEFENDANTS engaged in the aforementioned unlawful acts, practices and

       17 omissions alleged herein, and by ratifying such acts, engaged in intentional, reckless and willful,

       18 oppressive and malicious conduct, acted with willful and conscious disregard of PLAINTIFF's

       19 rights, welfare and safety, and caused great physical and emotional harm to PLAINTIFF. Therefore,

       20 PLAINTIFF seeks an aware of punitive damages, sufficient to punish DEFENDANTS and to serve

       21 as an example to deter similar conduct in the future, in an amount according to proof at trial, together

       22 with prejudgment interest thereon pursuant to Civil Code §§ 3287,3288, and/or any other applicable

       23 provision providing for prejudgment interest.

       24           68.    Additionally, pursuant to California Government Code § 12965(b), PLAINTIFF

       25 seeks an award of reasonable attorneys' fees and costs against DEFENDANTS.

       26 ///

       27 ///

       28 ///

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                                                         COMPLAINT


                                                                                         EXHIBIT A, PAGE 28
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        1                                    THIRD CAUSE OF ACTION

        2                            Failure to Engage in the Interactive Process

        3                                    [Cal. Gov. Code § 12940(n)]

        4                                  (Against All DEFENDANTS)

        5          69.    PLAINTIFF incorporates herein by specific reference as though fully set forth the

        6 allegations in paragraphs 1 through 68.

        7          70.    At all times relevant herein, California Government Code § 12940 was in full force

        8 and effect and was binding on DEFENDANTS.

        9          71.    California Government Code § 12940(n) provides that "[i]t is an unlawful

       10 employment practice. . (n)[f]or an employer or other entity covered by this part to fail to engage

       11   in a timely, good faith, interactive process with the employee or applicant to determine effective

       12 reasonable accommodations, if any, to a request for reasonable accommodation by an employee or

       13 applicant with a known physical or mental disability or known medical condition."

       14          72.    As set forth above, DEFENDANTS' acts and omissions constitute violations of

       15 California Government Code § 12940(n). DEFENDANTS failed to engage in a timely, good faith,

       16 interactive process or make a reasonable accommodation for PLAINTIFF's disability and medical

       17 condition. PLAINTIFF has filed a timely complaint with the California Department of Fair

       18 Employment and Housing and has received a Right to Sue letter.

       19          73.    By reason of DEFENDANTS' unlawful acts, practices and omissions, PLAINTIFF

       20 has suffered monetary damages, humiliation, mental anguish, and physical and emotional distress,

       21   in an amount subject to proof at trial. PLAINTIFF claims such amount as damages together with

       22 pre-judgment interest thereon pursuant to California Civil Code §§ 3287, 3288, and/or any other

       23 applicable provision providing for prejudgment interest.

       24          74.    DEFENDANTS engaged in the aforementioned unlawful acts, practices and

       25 omissions alleged herein, and by ratifying such acts, engaged in intentional, reckless and willful,

       26 oppressive and malicious conduct, acted with willful and conscious disregard of PLAINTIFF's

       27 rights, welfare and safety, and caused great physical and emotional harm to PLAINTIFF. Therefore,

       28 PLAINTIFF seeks an aware of punitive damages, sufficient to punish DEFENDANTS and to serve

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                                                       COMPLAINT


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        1 as an example to deter similar conduct in the future, in an amount according to proof at trial, together

        2 with prejudgment interest thereon pursuant to Civil Code §§ 3287,3288, and/or any other applicable

        3 provision providing for prejudgment interest.

        4           75.     Additionally, pursuant to California Government Code § 12965(b), PLAINTIFF

        5 seeks an award of reasonable attorneys' fees and costs against DEFENDANTS.

        6                                   FOURTH CAUSE OF ACTION

        7       Failure to Take All Reasonable Steps Necessary to Prevent Disability Discrimination

        8                                     [Cal. Gov. Code § 12940(k)]

        9                                    (Against All DEFENDANTS)

       10          76.     PLAINTIFF incorporates herein by specific reference as though fully set forth the

       1 1 allegations in paragraphs 1 through 75.

       12           77.    At all times relevant herein, California Government Code § 12940 was in full force

       13 and effect and was binding on DEFENDANTS.

       14          78.     California Government Code § 12940 provides that "[i]t is an unlawful employment

       15 practice . . . (k) [for an employer . . to fail to take all reasonable steps necessary to prevent

       16 discrimination...from occurring."

       17          79.     As set forth above, DEFENDANTS' acts and omissions constitute violations of

       18 California Government Code § 12940(k). DEFENDANTS failed to take all reasonable steps

       19 necessary to prevent disability discrimination from occurring. PLAINTIFF has filed a timely

       20 complaint with the California Department of Fair Employment and Housing and has received a

       21   Right to Sue letter.

       22          80.     By reason of DEFENDANTS' unlawful acts, practices and omissions, PLAINTIFF

       23 has suffered monetary damages, humiliation, mental anguish, and physical and emotional distress,

       24 in an amount subject to proof at trial. PLAINTIFF claims such amount as damages together with

       25 pre-judgment interest thereon pursuant to California Civil Code §§ 3287, 3288, and/or any other

       26 applicable provision providing for prejudgment interest.

       27          81.     DEFENDANTS engaged in the aforementioned unlawful acts, practices and

       28 omissions alleged herein, and by ratifying such acts, engaged in intentional, reckless and willful,

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                                                        COMPLAINT


                                                                                         EXHIBIT A, PAGE 30
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         1 oppressive and malicious conduct, acted with willful and conscious disregard of PLAINTIFF's

        2 rights, welfare and safety, and caused great physical and emotional harm to PLAINTIFF. Therefore,

        3 PLAINTIFF seeks an aware of punitive damages, sufficient to punish DEFENDANTS and to serve

        4 as an example to deter similar conduct in the future, in an amount according to proof at trial, together

        5 with prejudgment interest thereon pursuant to Civil Code §§ 3287,3288, and/or any other applicable

        6 provision providing for prejudgment interest.

        7          82.     PLAINTIFF also seeks the costs and expenses of this action, including reasonable

        8 attorneys' fees, pursuant to California Government Code § 12965(b).

        9                                     FIFTH CAUSE OF ACTION

        10                                              Retaliation

        11                                    [Cal. Gov. Code § 12940(h)]
        12                                   (Against All DEFENDANTS)

       13          83.     PLAINTIFF incorporates herein by specific reference as though fully set forth the

       14 allegations in paragraphs 1 through 82.

        15         84.     At all times relevant herein, California Government Code § 12940 was in full force

       16 and effect and was binding on DEFENDANTS.

       17          85.     California Government Code § 12940 provides that "[i]t is an unlawful employment

       18 practice . . . (h)[f]or any employer . . . or person to discharge, expel, or otherwise discriminate

       19 against any person because the person has opposed any practices forbidden under this or because

       20 the person has filed a complaint, testified, or assisted in any proceeding under this part..."

       21          86.     As set forth above, DEFENDANTS' acts and omissions constitute violations of

       22 California Government Code § 12940(h). DEFENDANTS retaliated against PLAINTIFF by, among

       23 other things, terminating his employment because he engaged in protected activity. PLAINTIFF has

       24 filed a timely complaint with the DFEH and has received a Right to Sue letter.

       25          87.     By reason ofDEFENDANTS's unlawful acts, practices and omissions,PLAINTIFF

       26 has suffered monetary damages, humiliation, mental anguish, and physical and emotional distress,

       27 in an amount subject to proof at trial. PLAINTIFF claims such amount as damages together with

       28 pre-judgment interest thereon pursuant to California Civil Code §§ 3287, 3288, and/or any other

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                                                         COMPLAINT


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         1 applicable provision providing for prejudgment interest.

        2          88.    By engaging in the aforementioned unlawful acts, practices, and omissions, and by

        3 ratifying such acts, practices, and omissions, DEFENDANTS intended to cause injury to

        4 PLAINTIFF. DEFENDANTS'conduct was reckless, malicious, and despicable, and was carried on

        5 with a conscious and willful disregard of the rights and safety of others. Therefore, PLAINTIFF

        6 seeks an award ofpunitive damages,sufficient to punish DEFENDANTS and to serve as an example

        7 to deter similar conduct in the future, in an amount according to proof at trial, together with

        8 prejudgment interest thereon pursuant to Civil Code §§ 3287, 3288, and/or any other applicable

        9 provision providing for prejudgment interest.

        10         89.    Additionally, pursuant to California Government Code § 12965(b), PLAINTIFF

        1 1 seeks an award of reasonable attorneys' fees and costs against DEFENDANTS.

        12                                     SIXTH CAUSE OF ACTION

        13                                Violation of California Family Rights Act

        14                                       [Cal. Gov. Code § 12945.2]

        15                                     (Against All DEFENDANTS)

       16          90.    PLAINTIFF incorporates herein by specific reference, as though fully set forth, the

       17 allegations in Paragraphs 1 through 89.

       18          91.    DEFENDANTS are employers covered by the California Family Rights Act of 1993

       19 ("CFRA"), Government Code § 12945.2. PLAINTIFF is an eligible employee under the CFRA.

       20          92.    Among other things, Government Code § 12945.2(a) makes it unlawful for a covered

       21 employer to refuse to grant a request by an eligible employee to take up to a total of 12 workweeks

       22 in any 12-month period for family care and medical leave. Furthermore, Government Code

       23 §12945.2(1) makes it unlawful for an employer to discharge, discriminate against, and/or retaliate

       24 against an employee because of the employee's exercise of the right to family care or medical leave

       25 under the CFRA.

       26          93.    DEFENDANTS' conduct as set forth above — including but not limited to

       27 discriminating and retaliating against PLAINTIFF for exercising his right to a medical leave of

       28 absence for his spinal neck injury — constitutes a violation of Government Code § 12945.2.

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                                                      COMPLAINT


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         1           94.   Within the time provided by law, PLAINTIFF filed a complaint with the California

         2 Department of Fair Employment and Housing against DEFENDANTS and received a Right to Sue

         3 letter.

        4            95.   As a direct and proximate result of DEFENDANTS unlawful acts, practices, and

        5 omissions, PLAINTIFF has suffered monetary damages, humiliation, mental anguish, and physical

        6 and emotional distress, in an amount subject to proof at trial. PLAINTIFF claims such amount as

        7 damages together with prejudgment interest thereon pursuant to Civil Code §§ 3287, 3288, and /or

        8 any other applicable provision providing for prejudgment interest.

        9            96.   By engaging in the aforementioned unlawful acts, practices, and omissions, and by

        10 ratifying such acts, practices, and omissions, DEFENDANTS intended to cause injury to

       1 1 PLAINTIFF. DEFENDANTS' conduct was reckless, malicious, and despicable, and was carried

       12 on with a conscious and willful disregard of the rights and safety of others. Therefore, PLAINTIFF

       13 seeks an award ofpunitive damages,sufficient to punish DEFENDANTS and to serve as an example

       14 to deter similar conduct in the future, in an amount according to proof at trial, together with

        15 prejudgment interest thereon pursuant to Civil Code §§ 3287, 3288, and/or any other applicable

       16 provision providing for prejudgment interest.

       17            97.   Additionally, PLAINTIFF seeks an award of reasonable attorneys' fees and costs

       18 against DEFENDANTS, and each of them, pursuant to the CFRA.

       19                                  SEVENTH CAUSE OF ACTION

       20                             Intentional Infliction of Emotional Distress

       21                                   (Against All DEFENDANTS)

       22            98.   PLAINTIFF incorporates herein by specific reference, as though fully set forth, the

       23 allegations in paragraphs 1 through 97.

       24            99.   By committing the outrageous and malicious acts and omissions complained of

       25 herein, DEFENDANTS knew, or should have known, that their conduct would result in

       26 PLAINTIFF's severe emotional distress. Moreover, DEFENDANTS' acts and omissions were

       27 perpetrated with the intent of inflicting humiliation, mental anguish, and severe emotional distress

       28 upon PLAINTIFF.

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                                                       COMPLAINT


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        1          100.    As a direct and proximate result of DEFENDANTS' unlawful acts, practices and

        2 omissions, PLAINTIFF has suffered monetary damages, humiliation, mental anguish, and physical

        3 and emotional distress, in an amount subject to proof at trial. PLAINTIFF claims such amount as

        4 damages together with prejudgment interest thereon pursuant to Civil Code §§ 3287, 3288, and/or

        5 any other applicable provision for prejudgment interest.

        6          101.    The unlawful acts, practices, and omissions of DEFENDANTS alleged herein were

        7 intentional, reckless, and willful and caused great physical and emotional harm to PLAINTIFF.

        8 Therefore, an award of punitive damages, sufficient to punish DEFENDANTS and to serve as an

        9 example to deter them from similar conduct in the future, should be made. PLAINTIFF claims such

       10 amount as damages together with prejudgment interest thereon pursuant to California Civil Code §§

       1 1 3287, 3288, and/or any other applicable provision providing for prejudgment interest.

       12                                   EIGHTH CAUSE OF ACTION

       13                        Wrongful Termination in Violation of Public Policy

       14                                    (Against All DEFENDANTS)

       15          102.   PLAINTIFF incorporates herein by specific reference as though fully set forth the

       16 allegations in paragraphs 1 through 101.

       17          103.   At all times relevant in this action, Article 1, Section 8 of the California Constitution

       18 and the California Fair Employment and Housing Act were in full force and effect, and were binding

       19 on DEFENDANTS. Article I, Section 8 of the Constitution, the California Fair Employment and

       20 Housing Act, the California Family Right s Act, and the public policy of the State of California

       21 based thereupon prohibit defendants from committing acts of discrimination, retaliation, and

       22 termination based upon engagement in a protected activity, including, but not limited to, seeking a

       23 reasonable accommodation and exercising the right to family care and/or medical leave.

       24          104.   Each of the aforementioned statutes embodies a fundamental and well-established

       25 public policy in the State of California.

       26          105.   PLAINTIFF believes, and thereon alleges, that making known his physical disability

       27 and medical condition and requesting reasonable accommodation was or were factors in

       28 DEFENDANTS' conduct as set forth above, including but not limited to the termination of

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                                                        COMPLAINT


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        1 PLAINTIFF's employment. Accordingly, PLAINTIFF was subject to working conditions by

        2 DEFENDANTS that violated public policy.

        3          106.   As a proximate result of DEFENDANTS' unlawful acts, practices, and omissions,

        4 PLAINTIFF has suffered monetary damages, humiliation, mental anguish, and physical and

        5 emotional distress, in an amount subject to proof at trial. PLAINTIFF claims such amount as

        6 damages together with prejudgment interest thereon pursuant to Civil Code §§ 3287, 3288 and/or

        7 any other applicable provision providing for prejudgment interest.

        8          107.   By engaging in the aforementioned unlawful acts, practices, and omissions, and by

        9 ratifying such acts, practices, and omissions, DEFENDANTS' conduct intended to cause injury to

       10 PLAINTIFF was reckless, malicious, and despicable, and was carried on with a conscious and

       11   willful disregard of the rights and safety of others. Therefore, PLAINTIFF seeks an award of

       12 punitive damages, sufficient to punish DEFENDANTS and to serve as an example to deter

       13 DEFENDANTS from similar conduct in the future, in an amount according to proof at trial, together

       14 with prejudgment interest thereon pursuant to California Civil Code §§ 3287, 3288 and/or any other

       15 applicable provision providing for prejudgment interest.

       16                                     PRAYER FOR RELIEF

       17          WHEREFORE,PLAINTIFF prays for judgment against DEFENDANTS as follows:

       18          1.     For compensatory damages on PLAINTIFF's economic losses, deprivation of civil

       19 rights, humiliation, physical anguish, and mental and emotional distress;

       20         2.      For injunctive relief permanently enjoining DEFENDANTS and DOES 1 through

       21 50 and their agents, employees and successors, and all persons in active conduct or participation

       22 with DEFENDANTS,from engaging in harassing and retaliatory practices;

       23          3.     For an award of punitive and exemplary damages on each cause of action as

       24 permitted by law;

       25         4.       For interest accrued to date pursuant to Labor Code § 218.6, Civil Code §§ 3287,

       26 3288, and/or and other applicable provision providing for prejudgment interest;

       27          5.      For an award of reasonable attorneys' fees, costs, and expenses, pursuant to the

       28 California Fair Employment and Housing Act and all other applicable statutes providing for

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        1    attorneys' fees and costs; and

        2           6.       For such other relief as the Court may deem just and proper.

        3

        4 DATED: February 3 , 2021                             Respectfully submitted,

        5                                                      MATERN LAW GROUP,PC

        6

        7                                                By:
                                                               MATTHEW J. MATERN
        8                                                      MATTHEW W. GORDON
                                                               VANESSA M. RODRIGUEZ
        9                                                      Attorneys for Plaintiff
                                                               ANTHONY DAVIS
       10

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                                                           -21-
                                                        COMPLAINT


                                                                                         EXHIBIT A, PAGE 36
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        1                                DEMAND FOR JURY TRIAL

        2       PLAINTIFF hereby demands a jury trial with respect to all issues triable of right by jury.

        3

        4 DATED: February.3 , 2021                         Respectfully submitted,

        5                                                  MATERN LAW GROUP,PC

        6

        7                                            By:
                                                           MATTH           MATERN
        8                                                  MATTHEW W. GORDON
                                                           VANESSA M. RODRIGUEZ
        9                                                  Attorneys for Plaintiff
                                                           ANTHONY DAVIS
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                                                       -22-
                                                    COMPLAINT


                                                                                     EXHIBIT A, PAGE 37
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Electronically FILED by Superior Court of California, County of Los Angeles on 02/03/201jgrfARMSitarri R. Carter, Executive Officer/Clerk of Court, by N. Alvarez,Deputy CieLk.
                                                                                                                                                                          CM-010
           ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                         FOR COURT USE ONLY
          —Matthew J. Matem; Matthew W. Gordon; Vanessa M.Rodriguez SBN: 159798; 267971; 316382
            Matern Law Group,PC
            1230 Rosecrans Avenue, Suite 200, Manhattan Beach, CA 90266
                 TELEPHONE NO.:(310) 531-1900             FAX No.:(310) 531-1901
           ATTORNEY FOR (Name)•Plaintiff ANTHONY DAVIS
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
               STREET ADDRESS: 1 1 1 N. Hill Street
               MAILING ADDRESS:Ill N. Hill Street
              CITY AND ZIP CODE:LOS Angeles, 90012

                  BRANCH NAME:Stanley Mosk Courthouse
            CASE NAME: Anthony Davis v. CVS Pharmacy, Inc., et al.

                                                                                                   CASE NUMBER:
              CIVIL CASE COVER SHEET                           Complex Case Designation
            X   Unlimited            Limited                                                          21STCV0431 0
               (Amount              (Amount                      Counter             Joinder
                                                                                                    JUDGE:
                demanded             demanded is          Filed with first appearance by defendant
               exceeds $25,000)     $25,000 or less)          (Cal. Rules of Court, rule 3.402)      DEPT:

                                        Items 1-6 below must be completed (see instructions on page 2).
          1. Check one box below for the case type that best describes this case:
              Auto Tort                                              Contract                                       Provisionally Complex Civil Litigation
                      Auto (22)                                     LI      Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
                      U ninsured motorist (46)                      LI      Rule 3.740 collections (09)            LI AntitrustfTrade regulation (03)
              Other PI/PD/WD (Personal Injury/Property                      Other collections (09)                 LI Construction defect (10)
              Damage/Wrongful Death)Tort                            LI      Insurance coverage (18)                LI Mass tort (40)
              FT    Asbestos(04)                                           Other contract (37)                     LI Securities litigation (28)
              ET      Product liability (24)                         Real Property                                 LI Environmental/Toxic tort (30)
              FT      Medical malpractice (45)                       F-7   Eminent domain/Inverse                         Insurance coverage claims arising from the
                   Other PI/PD/WD (23)                                     condemnation (14)                              above listed provisionally complex case
                                                                            Wrongful eviction (33)                        types(41)
              Non-PI/PD/WD(Other)Tort
              LI Business tort/unfair business practice(07)       Other real property (26)                          Enforcement of Judgment
              LI Civil rights (08)                          Unlawful Detainer                                      FT     Enforcement of judgment (20)
              LI Defamation (13)                            LI Commercial (31)                                      Miscellaneous Civil Complaint
              LI Fraud (16)                                 LI Residential (32)                                           RICO (27)
                 I ntellectual property (19)                LI Drugs(38)                                           -
                                                                                                                   1 1 Other complaint (not specified above)(42)
                      Professional negligence (25)                  Judicial Review                                 Miscellaneous Civil Petition
              LI   Other non-PI/PD/WD tort (35)                     LI     Asset forfeiture (05)
                                                                                                                          Partnership and corporate governance (21)
              Employment                                            LI      Petition re: arbitration award (11)
                                                                                                                   ri Other petition (not specified above)(43)
               X Wrongful termination (36)                          LI      Writ of mandate (02)
              17 Other employment(15)                               LI      Other judicial review (39)
         2. This case I      I is    Li is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
            factors requiring exceptional judicial management:
            a.       Large number of separately represented parties       d. n Large number of witnesses
            b.       Extensive motion practice raising difficult or novel e. n Coordination with related actions pending in one or more courts
                     issues that will be time-consuming to resolve              in other counties, states, or countries, or in a federal court
            C. I   I Substantial amount of documentary evidence           1. LI Substantial postjudgment judicial supervision
         3.   Remedies sought (check all that apply): a. X monetary b.n nonmonetary; declaratory or injunctive relief                                            c.         punitive
         4.   Number of causes of action (specify)Eight(8)
         5.   This case -  I 7 is -  I 1 is not a class action suit.
         6.   If there are any known related cases, file and serve a notice of related case. (Youjjipy use form CM-015.)
          Date:February 3, 2021
          Matthew J. Matem
                                            (TYPE OR PRINT NAME)                                                  (SIGNATURE p PAR      OR ATTORNEY FOR PARTY)
                                                                                NOTICE
           • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
             under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
             in sanctions.
           • File this cover sheet in addition to any cover sheet required by local court rule.
           • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
             other parties to the action or proceeding.
           • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                              Page lot 2
         Form Adopted for Mandatory Use                                                                                        Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
           Judicial Council of California
                                                                     CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Administration, std. 3.10
           CM-010(Rey. July 1,2007)                                                                                                                                  www.courtinfo.ca.goy
                                                                                                                                                          Westlaw Doc & Forrn Builder-




                                                                                                                                               EXHIBIT A, PAGE 38
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                                                                                                                                      CM-010
                                    INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
 To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
 complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
 statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
 one box for the case type that best describes the case. lithe case fits both a general and a more specific type of case listed in item 1,
 check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
 To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
 sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
 its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
 owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
 which property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                       Contract                                            Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                           Breach of RentailLease                           Antitrust/Trade Regulation (03)
     Uninsured Motorist(46)(if the                             Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                               or wrongful eviction)                  Claims Involving Mass Tort (40)
           motorist claim subject to                      Contract/Warranty Breach—Seller                 Securities Litigation (28)
          arbitration, check this item                         Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                                Negligent Breach of Contract/                    Insurance Coverage Claims
 Other Pl/PD/WD (Personal Injury/                              Warranty                                       (arising from provisionally complex
 Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                    case type listed above)(41)
 Ton                                                 Collections (e.g., money owed, open               Enforcement of Judgment
     Asbestos(04)                                         book accounts)(09)                              Enforcement of Judgment(20)
          Asbestos Properly Damage                        Collection Case—Seller Plaintiff                     Abstract of Judgment (Out of
          Asbestos Personal Injury/                       Other Promissory Note/Collections                         County)
               Wrongful Death                                  Case                                            Confession of Judgment (non-
     Product Liability (not asbestos or              I nsurance Coverage (not provisionally                         domestic relations)
          toxic/environmental)(24)                        complex)(18)                                         Sister State Judgment
     Medical Malpractice (45)                             Auto Subrogation                                     Administrative Agency Award
          Medical Malpractice—                            Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                       Petition/Certification of Entry of
          Other Professional Health Care                  Contractual Fraud                                       Judgment on Unpaid Taxes
                Malpractice                               Other Contract Dispute                               Other Enforcement of Judgment
     Other PI/PD/WD (23)                         Real Property                                                      Case
          Premises Liability (e.g., slip             Eminent Domain/Inverse                            Miscellaneous Civil Complaint
               and fall)                                  Condemnation (14)                               RICO (27)
          Intentional Bodily Injury/PD/WD            Wrongful Eviction (33)                               Other Complaint (not specified
               (e.g., assault, vandalism)                                                                      above)(42)
                                                     Other Real Property (e.g., quiet title)(26)
          Intentional Infliction of                                                                            Declaratory Relief Only
                                                          Writ of Possession of Real Property                  Injunctive Relief Only (non-
                Emotional Distress                        Mortgage Foreclosure
          Negligent Infliction of                                                                                   harassment)
                                                          Quiet Title
               Emotional Distress                                                                              Mechanics Lien
                                                          Other Real Property (not eminent
          Other PI/PD/WD                                                                                       Other Commercial Complaint
                                                          domain, landlord/tenant, or
 Non-PI/PD/WO (Other)Tort                                 foreclosure)                                              Case (non-tort/non-complex)
                                                 Unlawful Detainer                                             Other Civil Complaint
     Business Tort/Unfair Business                                                                                (non-tort/non-complex)
         Practice (07)                               Commercial (31)
                                                                                                       Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,             Residential (32)                                     Partnership and Corporate
         false arrest) (not civil                    Drugs(38) (if the case involves illegal                   Governance (21)
          harassment)(08)                                 drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                    report as Commercial or Residential)                 above)(43)
          (13)                                   Judicial Review                                               Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                     Workplace Violence
     Intellectual Property (19)                      Petition Re: Arbitration Award (11)                       Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                           Abuse
         Legal Malpractice                                Writ—Administrative Mandamus                         Election Contest
         Other Professional Malpractice                   Writ—Mandamus on Limited Court                       Petition for Name Change
            (not medical or legal)                            Case Matter                                      Petition for Relief From Late
      Other Non-PI/PD/WD Tort(35)                         Writ—Other Limited Court Case                             Claim
 Employment                                                  Review                                            Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
    Other Employment (15)                                 Review of Health Officer Order
                                                          Notice of Appeal—Labor
                                                             Commissioner Appeals
 CM-010{Rey. July 1,20071                                                                                                                Page 2 of 2
                                                     CIVIL CASE COVER SHEET




                                                                                                                  EXHIBIT A, PAGE 39
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  SHORT TITLE: Davis   v. CVS Pharmacy, Inc., et al.                                                  CASE NUMBER




                              CIVIL CASE COVER SHEET ADDENDUM AND
                                      STATEMENT OF LOCATION
               (CERTIFICATE.OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
               This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.



     Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
             Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


     Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

     Step 3: In Column C, circle the number which explains the reason for the court filing location you have
             chosen.

                                            Applicable Reasons for Choosing Court Filing Location(Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.      7. Location where petitioner resides.
2. Permissive filing in central district.                                            8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                             9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                               10. Location of Labor Commissioner Office.
                                                                                    11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                    non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                 A                                                         B                                                       C
                     Civil Case Cover Sheet                                         Type of Action                                      Applicable Reasons -
                           Category No.                                            (Check only one)                                      See Step 3 Above

                             Auto (22)             0 A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death               1, 4, 11

                     Uninsured Motorist(46)        0 A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist          1, 4, 11


                                                   0 A6070 Asbestos Property Damage                                                     1, 11
                          Asbestos(04)
                                                   0 A7221 Asbestos - Personal Injury/Wrongful Death                                    1, 11

                      Product Liability (24)       0 A7250 Product Liability (not asbestos or toxic/environmental)                      1, 4, 11

                                                   0 A7210 Medical Malpractice - Physicians & Surgeons                                  1, 4, 11
                    Medical Malpractice (45)
                                                   0 A7240 Other Professional Health Care Malpractice                                   1, 4, 11


                                                   0 A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                        1, 4, 11
                         Other Personal
                         Injury Property           0 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                        1, 4, 11
                        Damage VVrongful                   assault, vandalism, etc.)
                           Death (23)                                                                                                   1, 4, 11
                                                   0 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                        1, 4, 11
                                                   0 A7220 Other Personal Injury/Property Damage/Wrongful Death




   LASC CIV 109 Rev. 12/18
                                                  CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3
   For Mandatory Use
                                                     AND STATEMENT OF LOCATION                                                          Page lof4


                                                                                                                              EXHIBIT A, PAGE 40
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 SHORT TITLE:            Davis v. CVS Pharmacy,Inc., et al.                                                CASE NUMBER




                                       A                                                           B                                                C Applicable
                             Civil Case Cover Sheet                                         Type of Action                                       Reasons - See Step 3
                                   Category No.                                            (Check only one)                                            Above

                               Business Tort(07)           0   A6029 Other Commercial/Business Tort (not fraud/breach of contract)               1, 2, 3

                                Civil Rights(08)          0 A6005 Civil Rights/Discrimination                                                    1, 2, 3

                                Defamation (13)            0   A6010 Defamation (slander/libel)                                                 1, 2, 3

                                   Fraud (16)              0   A6013 Fraud (no contract)                                                        1, 2, 3

                                                           0   A6017 Legal Malpractice                                                           1, 2, 3
                          Professional Negligence (25)
                                                           0   A6050 Other Professional Malpractice (not medical or legal)                       1, 2, 3


                                   Other(35)              0    A6025 Other Non-Personal Injury/Property Damage tort                              1, 2, 3

                           Wrongful Termination (36)      0 A6037 Wrongful Termination                                                          le 3

                                                          0    A6024 Other Employment Complaint Case                                            1, 2, 3
                             Other Employment(15)
                                                          0    A6109 Labor Commissioner Appeals                                                 10

                                                          0    A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                                2, 5
                                                                     eviction)
                          Breach of Contract/ VVarranty                                                                                         2, 5
                                     (06)                 0    A6008 Contract/Warranty Breach -Seller Plaintiff(no fraud/negligence)
                               (not insurance)                                                                                                   1, 2, 5
                                                          0 A6019 Negligent Breach of Contract/Warranty(no fraud)
                                                                                                                                                1, 2, 5
                                                          0    A6028 Other Breach of Contract/Warranty(not fraud or negligence)

                                                          0    A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
                                Collections(09)
     0
                                                          0    A6012 Other Promissory Note/Collections Case                                     5, 11
     C
     .)
                                                          0    A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                                     Purchased on or after January 1, 2014)
                            Insurance Coverage (18)       0    A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8

                                                          0    A6009 Contractual Fraud                                                          1, 2, 3, 5
                              Other Contract(37)          0    A6031 Tortious Interference                                                      1, 2, 3, 5
                                                          0    A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1, 2, 3, 8,9

                            Eminent Domain/Inverse
                                                          0 A7300 Eminent Domain/Condemnation                 Number of parcels                 2, 6
                              Condemnation (14)

                             Wrongful Eviction (33)       0    A6023 Wrongful Eviction Case                                                     2, 6

                                                          0    A6018 Mortgage Foreclosure                                                       2, 6
                            Other Real Property (26)      0 A6032 Quiet Title                                                                   2, 6
                                                          0    A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2, 6

                          Unlawful Detainer-Commercial
                                                          0 A6021 Unlawful Detainer-Commercial(not drugs or wrongful eviction)                  6, 11
                                      (31)
     Unlawful Detainer




                          Unlawful Detainer-Residential
                                                          0 A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)                6, 11
                                     (32)
                               Unlawful Detainer-
                             Post-Foreclosure (34)
                                                          0    A6020F Unlawful Detainer-Post-Foreclosure                                        2, 6, 11

                          Unlawful Detainer-Drugs(38)     0    A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



                                                          CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                             AND STATEMENT OF LOCATION                                                           Page 2 of 4
 For Mandatory Use


                                                                                                                                   EXHIBIT A, PAGE 41
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 SHORT TITLE:                                   Davis v. CVS Pharmacy, Inc., et al.                                              CASE NUMBER




                                                               A                                                         B                                     C Applicable
                                                    Civil Case Cover Sheet                                        Type of Action                            Reasons- See Step 3
                                                          Category No.                                           (Check only one)                                 Above

                                                     Asset Forfeiture (05)        0 A6108 Asset Forfeiture Case                                            2, 3,6

                                                   Petition re Arbitration (11)   0 A6115 Petition to Compel/Confirm/Vacate Arbitration                    2, 5
              Judicial Review




                                                                                  0 A6151 Writ - Administrative Mandamus                                   2, 8
                                                     Writ of Mandate (02)         0 A6152 Writ- Mandamus on Limited Court Case Matter                      2
                                                                                  0 A6153 Writ - Other Limited Court Case Review                           2

                                                  Other Judicial Review(39)       0 A6150 Other Writ /Judicial Review                                      2,8


                                                 Antitrust/Trade Regulation (03) 0 A6003 Antitrust/Trade Regulation                                        1, 2,8
             Provisionally Complex Litigation




                                                   Construction Defect(10)        0 A6007 Construction Defect                                              1, 2,3

                                                  Claims Involving Mass Tort
                                                                                  0 A8006 Claims Involving Mass Tort                                       1, 2,8
                                                            (40)

                                                   Securities Litigation (28)     0 A6035 Securities Litigation Case                                       1, 2,8

                                                          Toxic Tort
                                                                                  0 A6036 Toxic Tort/Environmental                                         1, 2, 3,8
                                                      Environmental(30)

                                                  I nsurance Coverage Claims
                                                                                  0 A6014 Insurance Coverage/Subrogation (complex case only)               1, 2, 5,8
                                                     from Complex Case (41)

                                                                                  0 A6141 Sister State Judgment                                            2, 5, 11
                                                                                  0 A6160 Abstract of Judgment                                             2,6
   Enforcement




                                                         Enforcement              0 A6107 Confession of Judgment(non-domestic relations)                   2, 9
                                                       of Judgment(20)            0 A6140 Administrative Agency Award (not unpaid taxes)                   2,8
                                                                                  0 A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax         2, 8
                                                                                  0 A6112 Other Enforcement of Judgment Case                               2, 8,9

                                                           RICO (27)              0 A6033 Racketeering(RICO) Case                                          1, 2,8
   Civil Complaints
    Miscellaneous




                                                                                  0 A6030 Declaratory Relief Only                                          1, 2,8

                                                      Other Complaints            0 A6040 Injunctive Relief Only (not domestic/harassment)                 2, 8
                                                  (Not Specified Above)(42)       0 A6011 Other Commercial Complaint Case (non-tort/non-complex)           1, 2,8
                                                                                  0 A6000 Other Civil Complaint (non-tort/non-complex)                     1, 2,8

                                                    Partnership Corporation
                                                                                  0 A6113 Partnership and Corporate Governance Case                        2, 8
                                                       Governance (21)

                                                                                  0 A6121 Civil Harassment With Damages                                    2, 3, 9
   Miscellaneous
   Civil Petitions




                                                                                  0 A6123 Workplace Harassment With Damages                                2, 3,9
                                                                                   3
                                                                                   1 A6124 Elder/Dependent Adult Abuse Case With Damages                   2, 3,9
                                                      Other Petitions(Not
                                                     Specified Above)(43)         0 A6190 Election Contest                                                 2
                                                                                  0 A6110 Petition for Change of Name/Change of Gender                     2, 7
                                                                                  0 A6170 Petition for Relief from Late Claim Law                          2, 3,8
                                                                                  0 A6100 Other Civil Petition                                             2,9




                                                                                  CIVIL CASE COVER SHEET ADDENDUM                                        Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                                                     AND STATEMENT OF LOCATION                                              Page 3 of 4
  For Mandatory Use


                                                                                                                                                     EXHIBIT A, PAGE 42
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 SHORT TITLE:   Davis v. CVS Pharmacy, Inc., et al.                                   CASE NUMBER




Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
           type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
           (No address required for class action cases).

                                                                   ADDRESS:
   REASON:

    1=11.B 2.0 3.04.05.06.0 7. 08.0 9. El 10. 0 11.                1 1851 Artesia Blvd.



   CITY:                                      STATE:   ZIP CODE:

     Artesia                                 CA         90701

Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                          District of
           the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: February 3, 2021
                                                                                  (SIGNATURE OF ATTORNEIY/FILING PARTY)'




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
      6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
         minor under 18 years of age will be required by Court in order to issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          m ust be served along with the summons and complaint, or other initiating pleading in the case.




                                            CIVIL CASE COVER SHEET ADDENDUM                                           Local Rule 2.3
  LASC CIV 109 Rev. 12/18
                                               AND STATEMENT OF LOCATION                                                 Page 4 of 4
  For Mandatory Use



                                                                                                              EXHIBIT A, PAGE 43
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                   Superior Court of California, County of Los Angeles



                         ALTERNATIVE.DISPUTE RESOLUTION (ADR)
                                INFORMATION PACKAGE

  THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

  CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
  with the cross-complaint.



 What is ADR?
 ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
 mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
 be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

 Advantages of ADR
    • Saves Time: ADR is faster than going to trial.
    • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
    • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
    • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

 Disadvantages of ADR
    •   Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.
    •   No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

 Main Types of ADR:
    1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                 Mediation may be appropriate when the parties
                   • want to work out a solution but need help from a neutral person.
                   • have communication problems or strong emotions that interfere with resolution.
                 Mediation may not be appropriate when the parties
                   • want a public trial and want a judge or jury to decide the outcome.
                   • lack equal bargaining power or have a history of physical/emotional abuse.



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                                                                                                  EXHIBIT A, PAGE 44
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                                      How to arrange mediation in Los Angeles County

    Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

             a. The Civil Mediation Vendor Resource List
                If all parties agree to mediation, they may contact these organizations to request a "Resource List
                Mediation" for mediation at reduced cost or no cost (for selected cases):

                • ADR Services, Inc. Case Manager patricia@adrservices.com (310)201-0010 (Ext. 261)
                • JAMS, Inc. Senior Case Manager mbinder@iamsadr.com (310) 309-6204
                • Mediation Center of Los Angeles(MCLA)Program Manager info@mediationLA.org (833)476-9145
                     o Only MCLA provides mediation in person, by phone and by videoconference.

             These organizations cannot accept every case and they may decline cases at their discretion.
                Visit www.lacourt.org/ADR.Res.List for important information and FAQs before contacting them.
                NOTE: This program does not accept family law, probate, or small claims cases.

             b. Los Angeles County Dispute Resolution Programs
                https://wdacs.lacounty.gov/programs/drp/
                   • Small claims, unlawful detainers (evictions) and, at the Spring Street Courthouse, limited civil:
                           o Free, day- of- trial mediations at the courthouse. No appointment needed.
                           o Free or low-cost mediations before the day of trial.
                           o For free or low-cost Online Dispute Resolution (ODR) by phone or computer before the
                               day of trial visit
                               http://www.lacourt.org/division/smallclaims/pdf/OnlineDisputeResolutionFlyer-
                               EngSpan.pdf

             c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.




     3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
        person who decides the outcome. In "binding" arbitration, the arbitrator's decision is final; there is no right to
        trial. In "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
        information about arbitration, visit http://www.courts.ca.gov/programs-adr.htm

    4. Mandatory Settlement Conferences(MSC): MSCs are ordered by the Court and are often held close to the trial
       date or on the day of trial. The parties and their attorneys meet with a judge or settlement officer who does not
       make a decision but assists the parties in evaluating the strengths and weaknesses of the case and in negotiating
       a settlement. For information about the Court's MSC programs for civil cases, visit
       http://www.lacourt.orgidivisionicivil/C10047.aspx


 Los Angeles Superior Court ADR website: http://www.lacourt.oredivisionicivil/C10109.aspx
 For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm



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                                                                                                   EXHIBIT A, PAGE 45
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                                       VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                          The Early Organizational Meeting Stipulation, Discovery
                                       Resolution Stipulation, and Motions in Limine Stipulation are
        Superior Court of California   voluntary stipulations entered into by the parties. The parties
        County of Los Angeles
                                       may enter into one, two, or all three of the stipulations;
                                       however, they may not alter the stipulations as written,
                                       because the Court wants to ensure uniformity of application.
        Los Angeles County
        Bar Association                These stipulations are meant to encourage cooperation
        Litigation Section

        Los Angeles County
                                       between the parties and to assist in resolving issues in a
        Bar Association Labor and
        Employment Law Section         manner that promotes economic case resolution and judicial
                                       efficiency.

                                          The following organizations endorse the goal of
        Consumer Attorneys
        Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                                       consider using these stipulations as a voluntary way to
                                       promote communications and procedures among counsel
                                       and with the court to fairly resolve issues in their cases.

                                       *Los Angeles County Bar Association Litigation Section*
       Southern California
       Defense Counsel
                                                •Los Angeles County Bar Association
      .      aim
       0.122•011    ma WOO
                                                     Labor and Employment Law Section*

       Association of
       Business Trial Lawyers             *Consumer Attorneys Association of Los Angeles*


                                               *Southern California Defense Counsel*


                                               *Association of Business Trial Lawyers*

       California Employment
       Lawyers Association
                                           *California Employment Lawyers Association*

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                                                                                              EXHIBIT A, PAGE 46
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     NAME AMP ADDRESS OF ATTORNEY OR PARTY YYSTMOVT ATTORNEY:                STATE EAR NUMBER            R.,   ,d for Chfee Re Mang.




               TELEPHONE NO.:                                   FAX NO.(Optional):
      E-MAIL ADDRESS (Optional):
         ATTORNEY FOR (Name):
     SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
     COURTHOUSE ADDRESS:

     PLAINTIFF:

     DEFENDANT:

                                                                                                CASE NUMBER:
                STIPULATION — EARLY ORGANIZATIONAL MEETING

           This stipulation is intended to encourage cooperation among the parties at an early stage in
           the litigation and to assist the parties in efficient case resolution.

           The parties agree that:
           1. The parties commit to conduct an initial conference (in-person or via teleconference or via
              videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
              whether there can be agreement on the following

                  a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                     amendment as of right, or if the Court would allow leave to amend, could an amended
                     complaint resolve most or all of the issues a demurrer might otherwise raise? if so, the parties
                     agree to work through pleading issues so that a demurrer need only raise issues they cannot
                     resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                     would some other type of motion be preferable? Could a voluntary targeted exchange of
                     documents or information by any party cure an uncertainty in the pleadings?

                  b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                     employment case, the employment records, personnel file and documents relating to the
                     conduct in question could be considered "core." In a personal injury case, an incident or
                     police report, medical records, and repair or maintenance records could be considered
                     "core.");
                c. Exchange of names and contact information of witnesses;

                d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                   indemnify or reimburse for payments made to satisfy a judgment;

                e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                   or resolution of the case in a manner that preserves objections or privileges by agreement;
                f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                   phases of the case. Also, when and how such issues can be presented to the Court;

                g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                   court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                   and whether the parties wish to use a sitting judge or a private mediator or other options as
          LACIV 229(Rev 92/15),
          LASC Approved 04/11               STIFUEATION — EARLY ORGANIZATIONAL'MEETING-
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                                                                                                               EXHIBIT A, PAGE 47
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       SHORT TITLE:                                                                  CASE NUMBER:




                      discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
                      complaint;

             h. Computation of damages, including documents, not privileged or protected from disclosure, on
                which such computation is based;
             I. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                www.lacourtorq under "Civil' and then under "General Information").

       2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
                      to                         for the complaint, and                             for the cross-
                              (INSERT DATE)                                    (INSERT DATE)
                  complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                  and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                  been found by the Civil Supervising Judge due to the case management benefits provided by
                  this Stipulation. A copy of the General Order can be found at www,lacourtora under "Civil',
                  click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".
       3.         The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
                  and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                  results of their meet and confer and advising the Court of any way it may assist the parties'
                  efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                  the Case Management Conference statement, and file the documents when the CMC
                  statement is due.

       4.         References to "days" mean calendar days, unless otherwise noted. If the date for performing
                  any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                  for performing that act shall be extended to the next Court day

       The following parties stipulate:
       Date:

                        (TYPE OR PRINT NAME)                                    (ATTORNEY FOR PLAINTIFF)
       Date:

                        (TYPE OR PRINT NAME)                                  (ATTORNEY FOR DEFENDANT)
       Date':

                        (TYPE OR PRINT NAME)                                   (ATTORNEY FOR DEFENDANT)
       Date:

                        (TYPE OR PRINT NAME)                                  (ATTORNEY FOR DEFENDANT)
       Date:

                        (TYPE OR PRINT NAME)                             (ATTORNEY FOR
       Date:

                        (TYPE OR PRINT NAME)                             (ATTORNEY FOR
       Date:

                        (TYPE OR PRINT NAME)                             (ATTORNEY FOR


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       LASC Approved 04111         STIPULATION — EARLY ORGANIZATIONAL MEETING                              Page 2 of 2




                                                                                                    EXHIBIT A, PAGE 48
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     NAME AND ADORESD OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR PARADER            Reg annul fcx CNN.FIN Ohm',   .




          •    TELEPHONE NO.:                                  FAX NO.(Optional):
      E-MAIL ADDRESS(Optional):
         ATTORNEY FOR (Name):
     SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
     COURTHOUSE ADDRESS:

     PLAINTIFF:

     DEFENDANT:

                                                                                                CASE NUMBER:
                         STIPULATION — DISCOVERY RESOLUTION

           This stipulation is intended to provide a fast and informal resolution of discovery Issues
           through limited paperwork and an informal conference with the Court to ald In the
           resolution of the Issues.

           The parties agree that:

           1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
              the moving party first makes a written request for an Informal Discovery Conference pursuant
              to the terms of this stipulation.

           2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
              and determine whether it can be resolved informally, Nothing set forth herein will preclude a
              party from making a record at the conclusion of an Informal Discovery Conference, either
              orally or in writing.

           3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
              presented, a party may request an Informal Discovery Conference pursuant to the following
              procedures:

                      a. The party requesting the Informal Discovery Conference will:

                          i.      File a Request for Informal Discovery Conference with the clerk's office on the
                                  approved form (copy attached) and deliver a courtesy, conformed copy to the
                                  assigned department;

                         ii.      Include a brief summary of the dispute and specify the relief requested; and

                        iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                                 that ensures that the opposing party receives the Request for Informal Discovery
                                 Conference no later than the next court day following the filing.

                      b. Any Answer to a Request for Informal Discovery Conference must:

                          I.     Also be filed on the approved form (copy attached);

                                  Include a brief summary of why the requested relief should be denied;
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          For Optional Use                                                                                                 Page 1 of 3




                                                                                                               EXHIBIT A, PAGE 49
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        SHORT TITLE:                                                                  CASE NUMBER:




                       iii.   Be filed within two (2)court days of receipt of the Request; and

                       iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                              method of service that ensures that the opposing party receives the Answer no
                              later than the next court day following the filing.

              c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
                 be accepted.

             d. If the Court has not granted or denied the Request for Informal Discovery Conference
                within ten (10) days following the filing of the Request, then it shall be deemed to have
                been denied. If the Court acts on the Request, the parties will be notified whether the
                Request for Informal Discovery Conference has been granted or denied and, if granted,
                the date and time of the Informal Discovery.Conference, which must be within twenty (20)
                days of the filing of the Request for Informal Discovery Conference.

             e. If the conference is not held within twenty (20) days of the filing of the Request for
                Informal Discovery Conference, unless extended by agreement of the parties and the
                Court, then the Request for the Informal Discovery Conference shall be deemed to have
                been denied at that time.

       4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
          without the Court having acted or (c)the Informal Discovery Conference is concluded without
          resolving the dispute, then a party may file a discovery motion to address unresolved issues.

       5. The parties hereby further agree that the time for making a motion to compel or other
          discovery motion is tolled from the date of filing of the Request for Informal Discovery
          Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
          filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
          by Order of the Court.

             It is the understanding and intent of the parties that this stipulation shall, for each discovery
             dispute to which it applies, constitute a writing memorializing a "specific later date to which
             the propounding [or demanding or requesting] party and the responding party have agreed in
             writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
             2033.290(c).

       6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
          an order shortening time for a motion to be heard concerning discovery.

       7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
          terminate the stipulation.

       8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
          any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
          for performing that act shall be extended to the next Court day.



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                                                                                                     EXHIBIT A, PAGE 50
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       SHORT TOLE:                                                    CASE NUMBER:




       The following parties stipulate:

       Date:
                     (TYPE OR PRINT NAME)                          (ATTORNEY FOR PLAINTIFF)
       Date:
                     (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
       Date:
                     (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
       Date:
                     (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
       Date:
                     (TYPE OR PRINT NAME)                  (ATTORNEY FOR
       Date:
                     (TYPE OR PRINT NAME)                  (ATTORNEY FOR
       Date:
                     (TYPE OR PRINT NAME)                  (ATTORNEY FOR




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       For Optional Use                                                                       Page 3013




                                                                                     EXHIBIT A, PAGE 51
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     NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE OAR NURSER                    Re,oned for Clerk's Flo Stomp




               TELEPHONE NO.:                                  FAX NO.(Optional):
      E-MAIL ADDRESS (Optional):
         ATTORNEY FOR (Name):
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
     COURTHOUSE ADDRESS:

     PLAINTIFF:

     DEFENDANT:

                                                                                                       CASE NUMBER:
                         INFORMAL DISCOVERY CONFERENCE
                   (pursuant to the Discovery Resolution Stipulation of the parties)
           1. This document relates to:
                 1
                 1       Request for Informal Discovery Conference
                 O Answer to Request for informal Discovery Conference
           2. Deadline for Court to decide on Request:              (Insert date 10 calendar days following filing of
                  the Request).
           3. Deadline for Court to hold Informal Discovery Conference:                                           (Insert date 20 calendar
                  days following filing of the Request).
           4. For a Request for Informal Discovery Conference, brieflx describe the nature of the
              discovery dispute, Including the facts and legal arguments at issue. For an Answer to
              Request for Informal Discovery Conference, briefly describe why the Court should deny
              the requested discovery, Including the facts and legal arguments at issue.




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          LASC Approved 04/11
                                                 INFORMALDISCOVERY—CONFERENCE,,
          For Optional Use                 (pursuant to the Discovery Resolution Stipulation of the parties)




                                                                                                                      EXHIBIT A, PAGE 52
Case 2:21-cv-02484-DMG-KS Document 1-1 Filed 03/22/21 Page 42 of 53 Page ID #:55




     NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE DAR NUMBER            R4Nened for Ma% RN &imp




               TELEPHONE NO.:                                  FAX NO.(Optional):
      E-MAIL ADDRESS (Optional):
         ATTORNEY FOR (Name):
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
     COURTHOUSE ADDRESS:

     PLAINTIFF:

     DEFENDANT:

                                                                                               CASE NUMBER:
                   STIPULATION AND ORDER — MOTIONS IN LIMINE


           This stipulation is intended to provide fast and Informal resolution of evidentiary
           Issues through diligent efforts to define and discuss such issues and limit paperwork.


           The parties agree that:
           1. At least       days before the final status conference, each party will provide all other
              parties with a list containing a one paragraph explanation of each proposed motion in
              limine. Each one paragraRh explanation must identify the substance of a single proposed
              motion in limine and the grounds for the proposed motion.

           2. The parties thereafter will meet and confer, either in person or via teleconference or
              videoconference, concerning all proposed motions in limine. In that meet and confer, the
              parties will determine:

                  a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                     stipulate, they may file a stipulation and proposed order with the Court.
                  b. Whether any of the proposed motions can be briefed and submitted by means of a
                     short joint statement of issues. For each motion which can be addressed by a short
                     joint statement of issues, a short joint statement of issues must be filed with the Court
                     10 days prior to the final status conference. Each side's portion of the short joint
                     statement of issues may not exceed three pages. The parties will meet and confer to
                     agree on a date and manner for exchanging the parties' respective portions of the
                     short joint statement of issues and the process for filing the short joint statement of
                     issues.
           3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
              a short joint statement of issues will be briefed and filed in accordance with the California
              Rules of Court and the Los Angeles Superior Court Rules.



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           For Optional Use                                                                                             Page 1 of 2




                                                                                                              EXHIBIT A, PAGE 53
Case 2:21-cv-02484-DMG-KS Document 1-1 Filed 03/22/21 Page 43 of 53 Page ID #:56




       SNORT TITLE:                                                CASE NUMBER:




       The following parties stipulate:
       Date:
       )

                      (TYPE OR PRINT NAME)                     (ATTORNEY FOR PLAINTIFF)
       Date:

                      (TYPE OR PRINT NAME)                    (ATTORNEY FOR DEFENDANT)
       Date:

                      (TYPE OR PRINT NAME)                    (ATTORNEY FOR DEFENDANT)
       Date:

                      (TYPE OR PRINT NAME)                    (ATTORNEY FOR DEFENDANT)
       Date:

                      (TYPE OR PRINT NAME)                (ATTORNEY FOR                      )
       Date:

                      (TYPE OR PRINT NAME)                (ATTORNEY FOR                      )
       Date:

                      (TYPE OR PRINT NAME)                (ATTORNEY FOR                      )



       THE COURT SO ORDERS.

         Date:
                                                                    JUDICIAL OFFICER




       LACIV 075(new)
       LASC Approved 04/11     STIPULATION AND ORDER — MOTIONS IN LIMINE               Page 2 of 2




                                                                                  EXHIBIT A, PAGE 54
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                                                                                                       Reserved for Clerk's File Stamp
                   SUPERIOR COURT OF CALIFORNIA
                      COUNTY OF LOS ANGELES
   COURTHOUSE ADDRESS:
                                                                                                                 FILED,
  Stanley Mosk Courthouse                                                                            Superior Court of California
  1 11 North Hill Street, Los Angeles, CA 90012                                                        County olio Angeles
                                                                                                           02/03/2021
                    NOTICE OF CASE ASSIGNMENT                                                 Matti IR. Cartd,Exe-Aave Mott .1 C/elt otCouri
                                                                                               By:                 Myatt2-               orauly
                          UNLIMITED CIVIL CASE

                                                                                     CASE NUMBER:

   Your case is assigned for all purposes to the judicial officer indicated below.   21STCV04310

                            TILES FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                 ASSIGNED JUDGE               DEPT     ROOM                       ASSIGNED JUDGE                       DEPT          ROOM
    V     Susan Bryant-Deason                52                    .




     Given to the Plaintiff/Cross-Complainant/Attorney of Record       Sherri R. Carter, Executive Officer / Clerk of Court
     on 02/03/2021                                                            By N. Alvarez                                         , Deputy Clerk
                 (Date)
 LACIV 190(Rev 6/18)         NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
 LASC Approved 05/06


                                                                                                                  EXHIBIT A, PAGE 55
Case 2:21-cv-02484-DMG-KS Document 1-1 Filed 03/22/21 Page 45 of 53 Page ID #:58




                                    INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

 The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
 for your assistance.

 APPLICATION
 The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

 PRIORITY OVER OTHER RULES
 The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

 CHALLENGE TO ASSIGNED JUDGE
 A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
 to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

 TIME STANDARDS
 Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

 COMPLAINTS
 All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

 CROSS-COMPLAINTS
 Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
 complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

 STATUS CONFERENCE
 A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
 complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
 trial date, and expert witnesses.

 FINAL STATUS CONFERENCE
 The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
 parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
 form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
 matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
 lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
 by Chapter Three of the Los Angeles Superior Court Rules.

 SANCTIONS
 The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
 Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
 or if appropriate, on counsel for a party.

 This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
 therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
 compliance with the actual Chapter Rules is imperative.

 Class Actions
 Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
 judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
 Calendar Courtroom for all purposes.

 *Provisionally Complex Cases
 Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
 complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
 randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
 returned to an Independent Calendar Courtroom for all purposes.




 LACIV 190(Rev 6/18)         NOTICE OF CASE ASSIGNMENT- UNLIMITED CIVIL CASE
 LASC Approved 05/06



                                                                                                               EXHIBIT A, PAGE 56
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                                                                                     Reserved for 'Clerk's File Stamp
             SUPERIOR COURT OF CALIFORNIA
                COUNTY OF LOS ANGELES
   COURTHOUSE ADCRESS:                                                                           FILED
                                                                                       Supatior.Co.utt of Caidomia
  Stanley Mask C.Ourthouse                                                              .COutfty of tot Angoits

  111 North Hill Street, Los Angeles, CA 90012                                              02/05/2021
                                                                                 Stiegrin Carkr,Extt,,OMOocv Cork ofCow
   PLAINTIFF(S):                                                                    - •          _
                                                                                   By:             M. Istinza   tke.p. toy
  Anthony Davis
  DEFENDANT(S):

  CVS     Pharmacy, Inc., Rhode sIslan.d corporatiOn-et al
                                                                                  CASE NUMBER:
                          ORDER TO SHOW CAUSE HEARING
                                                                                 .21STCV04310

   To the' party/ atiOrneyof record::
   You are ordered to appear for an Order.. to Show. Cause Hearing on 04/30/2021 at 8:30 AM                            in
   department52 of this. court, . Stanley Mosk Courthouse
   and show cause why sanctiOns should not be imposed for:
  ,tv]     Failure tolile.proof Ofservice.

  Failure to comply or appear may result in sanctions pursuantto:one or more of the following: California
  Rules of Court;rule 2.30'and rule.11340; Code ofCivil Procedure sections 177.5, 575.2, 583.150,
  583.310, 583.360,..583.410, 583.420, 583.430; and 'Government Code section 68608.

 - 14,1    Taziloici_amandatory'appeara_pco.all.reauired docu.ments. MUSt.be,filed at least5 days prior to.the
           *date Ofthe'hearing.                                                                                    •         *




                                                                                        Zroig-taA,
  Dated:    02/05/2021                                               Susan BryantrDeason/judge
                                                                            Judicial Officer




                                        ORDER TOSHOW CAUSE HEARING
  LACI/ 166(Rev. 09/08)                                                                     Cal. Rules of Court, rule 2.30
  LASC ApproVe.ci 06-04                                                                     LASClocal Rules: Chapter 7




                                                                                           EXHIBIT A, PAGE 57
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              SUPERIOR COURT OF CALIFORNIA
                 COUNTY OF LOS ANGELES
   COURTHOUSE ADDRESS:                                                                         FILED
                                                                                     Supatitir tAtourt of Catifornia
   Stanley Mosk Courthouse                                                            County of Los Angelas
   1 11 North Hill Street, Los Angeles, CA 90012
                                                                                             02/05/2021
   PLAINTIFF/PETITIONER:                                                      s ccii R. C4.-tor.E va ONotr/ Cerk o1 Cowl
   Anthony. Davis                                                              By:             M. Isunza          Deix.sly
   DEFENDANT/RESPONDENT:
   CVS Pharmacy, Inc., Rhode Island corporation et al
                                                                              CASE NUMBER:
                           CERTIFICATE OF MAILING                             21STCV04310

   I, the below-named Executive Officer/Clerk of the above,entitled court, do hereby certify that) am not a
   party to the cause herein,.and that on this date I served the Order to Show Cause Failure to File Proof of
   Service upon each party or counsel named below by Wading the document for collection and mailing so as
   to cause it to be deposited in the United States mail at the courthouse in Los Angeles, California, one copy
   of the original filed/entered herein in a separate sealed envelope to each address as shown below with the
   postage thereon fully prepaid, in accordance with standard court practices.




      Matthew Matern
      Matern Law Group PC
      1230 Rosecrans Avenue Suite 200
      Manhattan Beach, CA 90266




                                                       Sherri R. Carter; Executive Officer /Clerk of Court

   Dated: 02/5/2021                                     By:   M. lsunza
                                                              Deputy Clerk




                                        CERTIFICATE OF MAILING

                                                                                             EXHIBIT A, PAGE 58
              Case 2:21-cv-02484-DMG-KS Document 1-1 Filed 03/22/21 Page 48 of 53 Page ID #:61




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CENTRAL DISTRICT-STANLEY MOSK COURTHOUSE
CIVIL DIVISION
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LOS ANGELES, CALIFORNIA 90012




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                                                                                              EXHIBIT A, PAGE 59
   Case 2:21-cv-02484-DMG-KS Document 1-1 Filed 03/22/21 Page 49 of 53 Page ID #:62




                    SUPERIOR COURT OF CALIFORNIA                                                        Reserved for Clerk's File Stamp

                       COUNTY OF LOS ANGELES
   COURTHOUSE ADDRESS:
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   Stanley Mosk Courthouse                                                                                    COUnly of LOS AngeieS
   1 11 North Hill Street, Los Angeles, CA 90012                                                                  02/05/2021
   PLAINTIFF:
                                                                                                        icR.Ceote,           Otfott:/ Cie& ofCaul
   Anthony Davis                                                                                              .       M. Isun7,4         Npuly
   DEFENDANT:

   CVS Pharmacy, Inc„ Rhode Island corporation et al                                                    CASE NUMBER

                   NOTICE OF STATUS CONFERENCE AND ORDER                                               21STCV04310

    To plaintiff/petitioner and self-represented parties: Notice is hereby given that the Status Conference in the above-entitled
    action will be held on
                                      Date: 04/30/2021          Time: 8:30 AM Div./Dept.: Department 52
        Re:
                O Post Arbitration         0Post Mediation             0 Status of Uninsured Motorist Claim

                O Status of Bankruptcy 0as to all defendants El as to

            0 Status of Binding Arbitration                   0 Status of Reclassified Case

                O (Other)

     At the Status Conference the Court will determine the present status of the case, how to achieve compliance with time
    standards;whether any party has not been diligent in pursuing the case, and will make appropriate orders intended to
    move this matter forward to final disposition.

.._____RPlaintiTPetitioner and self-represented parties mustappear at the Status Conference unless within                 5      days
         before the status conference:the-Toirovkij tfarciairrred:

           El      Arbitration Award has been filed.          0 A Request for Trial De Novo has been filed.

           El Judgment has been entered.                       JJ Statement of Agreement has been filed.

           2 A Request for Dismissal of the entire action has been filed.

           0. Other


                                                                  ORDER
   2 Plaintiff/Petitioner is ordered to give notice of said hearing forthwith to any party served with summons and complaint before the
        status conference hearing and file a Proof of Service in this department within   5    days before the hearing.

        Failure to comply or appear may result in an Order to Show Cause re the imposition of sanctions.



                                                                                                    b            .
                                                                                                         0-)11374—




    Dated: 02/05/2021                                                          Susan Bryant-Deasoni judge
                                                                                          Judicial Officer

    LACIV 167(Rev.01/07)                      NOTICE OF STATUS CONFERENCE                                    LASC Local Rules, Chapter 7 Cal.
    LASC Approved 06-04                                AND ORDER                                               Rules of Court, rule 2.2 etseq.




                                                                                                              EXHIBIT A, PAGE 60
Case 2:21-cv-02484-DMG-KS Document 1-1 Filed 03/22/21 Page 50 of 53 Page ID #:63




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              SUPERIOR COURT OF CALIFORNIA
                 COUNTY OF LOS ANGELES
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  Stanley Mosk Courthouse                                                             COuntycif Lc%Angole
  111 North Hill Street, Los Angeles, CA O012
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   PLAINTIFF/PETITIONER:                                                      McgriFt. C4
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   Anthony Davis..                                                                            14.


   DEFENDANT/RESPONDENT:
  CVS Pharmacy; Inc., Rhode Island corporation et al
                                                                              CASE NUMBER:
                           CERTIFICATE OF MAILING                             215TCV.04310

  I, the below-named Executive 'Officer/Clerk of the above-entitled court, do hereby certify that I am not a
  Party to the cause herein, and that on this date I served the Notice of Status Conference .and Order upon
  each party or counsel named below by placing the document for collection and mailing so as to cause it to
  be deposited in the United States mail at the courthouse in Los Angeles, California, one copy of the original
  filed/entered herein in a separate sealed envelope to each address as shown below with the postage
  thereon fully prepaid, in accordance with standard court practices.




       Matthew Matern
       Matern Law Group F.'C
       1230 RosQcrans Avenue Suite 200
       Manhattan Beach,. CA "90266




                                                        Sherri R. Carter, Executive OfficeriClerkof Court

   Dated: 02/5/2021                              —          - M. IStriia •
                                                              Deputy Clerk




                                         CERTIFICATE OF MAILING

                                                                                             EXHIBIT A, PAGE 61
    Case 2:21-cv-02484-DMG-KS Document 1-1 Filed 03/22/21 Page 51 of 53 Page ID #:64




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CIVIL DIVISION                                                                         .
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                                                                                    EXHIBIT A, PAGE 62
Case 2:21-cv-02484-DMG-KS Document 1-1 Filed 03/22/21 Page 52 of 53 Page ID #:65




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            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
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  Stanley Mosk Courthouse                                                           Superior Curt of California
                                                                                      Coiunty of Ws Angeles
  1 11 North Hill Street, Los Angeles, CA 90012
                                                                                         02/1112021
  PLAINTIFF(S):                                                                iia C.ift,EXottlfiit oa&i/ fleec   cdtri

  Anthony Davis                                                               EV:           M. latilZa       Derily

  DEFENDANT(S).
  CVS Pharmacy, Inc., Rhode Island corporation et al
                                                                             CASE NUMBER:
         NOTICE OF CASE REASSIGNMENT AND ORDER FOR
            PLAINTIFF TO GIVE NOTICE (Dates Remain)                         21STCV04310

  TO THE PLAINTIFF(S) AND PLAINTIFF'S ATTORNEY OF RECORD OR PLAINTIFF(S) IN
  PROPRIA PERSONA:


  You are hereby notified that effective 02/16/2021                 , an order was made that the above-
  entitled action, previously assigned to Susan Bryant-Deason
  is now and shall be assigned to Armen Tamzarian
  as an Individual Calendar (IC), direct calendaring judge for all purposes, including trial, in
  department         52   at Stanley Mosk Courthouse
  (See Chapter 3, Los Angeles Court Rules) All matters on calendar in this case will remain set on
  the dates previously noticed, in the department indicated above unless otherwise ordered by the
  court.


  Notice is further given that plaintiff in propria persona or counsel for the plaintiff is ordered to give
  notice of this all-purpose case assignment by serving a copy of the notice on all parties to this
  action within 10 days of service of this notice by the court, and file proof of service thereof within 12
  days of this notice. Failure to timely give notice and file proof of service may lead to imposition of
  sanctions pursuant to Code of Civil Procedure section 177.5 or otherwise.

                                                  Sherri R. Carter, Executive Officer / Clerk of Court


   Dated: 02/11/2021                                By M. Isunza
                                                                       Deputy Clerk

         NOTICE OF CASE REASSIGNMENT AND ORDER FOR PLAINTIFF TO GIVE NOTICE
                                  (Dates Remain)
  (Proposed LACIV 252)
  LASC Approved 00-00                                                                           Local Rules Chapter 3




                                                                                         EXHIBIT A, PAGE 63
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              SUPERIOR COURT OF CALIFORNIA
                 COUNTY OF LOS ANGELES
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   Stanley Mosk Courthouse                                                            County of loAngaSas
   1 11 North Hill Street Los Angeles, CA 90012                                            02/11/2021
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   PLAINTIFF/PETITIONER:
                                                                                               M. Ittema              040..1.1y
   Anthony Davis
   DEFENDANT/RESPONDENT:
   CVS Pharmacy, Inc., Rhode Island corporation et al
                                                                             CASE NUMBER:
                           CERTIFICATE OF MAILING                            21STCV04310

   I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
   party to the cause herein, and that on this date I served the Notice of Case Reassignment and Order for
   Plaintiff to Give Notice upon each party or counsel named below by placing the document for collection
   and mailing so as to cause it to be deposited in the United States mail at the courthouse in Los Angeles,
   California, one copy of the original filed/entered herein in a separate sealed envelope to each address as
   shown below with the postage thereon fully prepaid, in accordance with standard court practices.




       Matthew Matern
       Matern Law Group PC
       1230 Rosecrans Avenue Suite 200
       Manhattan Beach, CA 90266




                                                      Sherri R. Carter, Executive Officer / Clerk of Court
   Dated: 02/11/2021                                    By: M. lsunza
                                                            Deputy Clerk




                                         CERTIFICATE OF MAILING

                                                                                              EXHIBIT A, PAGE 64
